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       1.      Congress enacted ERISA in the wake of several high-profile scandals involving

employers that mismanaged their employee benefits programs. This mismanagement inflicted

millions of dollars of harm on employees and their dependents. ERISA was designed to put an

end to this mismanagement and protect employee benefit plan participants from their employers’

waste and misconduct. It does so by “establishing standards of conduct, responsibility, and

obligation for fiduciaries of employee benefit plans,” and by providing plan participants and

beneficiaries with “appropriate remedies, sanctions, and ready access to the Federal courts” when

plan fiduciaries mismanage ERISA plans. 29 U.S.C. § 1001(b). Courts have referred to ERISA’s

fiduciary duties as “the highest known to the law.”

       2.      ERISA subjects anyone with discretionary authority over an employee benefits plan

to fiduciary duties derived from the law of trusts. Relevant here, ERISA’s “duty of prudence”

requires fiduciaries to act “with the care, skill, prudence, and diligence under the circumstances

then prevailing that a prudent man acting in a like capacity and familiar with such matters would

use in the conduct of an enterprise of a like character and with like aims.” 29 U.S.C.

§ 1104(a)(1)(B). Among other things, ERISA’s duty of prudence requires plan fiduciaries to make

a diligent effort to compare alternative service providers in the marketplace, seek to minimize the

expenses paid for the goods and services to be provided, and continuously monitor plan expenses

to ensure they remain reasonable and appropriate under the circumstances. In addition, ERISA’s

“duty of loyalty” under 29 U.S.C. § 1104(a)(1)(A) requires fiduciaries to discharge their duties for

the exclusive purpose of providing benefits to participants and their beneficiaries and defraying

reasonable expenses of administering the plan.

       3.      This case principally involves Defendants’ systematic mismanagement of

JPMorgan’s prescription-drug benefits program under the Plan. Over the past several years,



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Defendants breached their fiduciary duties by agreeing to grossly inflated prescription drug prices,

costing the JPMorgan Plan and its participants/beneficiaries millions of dollars through higher

payments for prescription drugs, higher premiums, higher out-of-pocket costs, higher deductibles,

higher coinsurance, higher copays, and suppressed wages. Defendants’ mismanagement is evident

from, among other things, the prices the Plan agreed to pay one of its vendors—its Pharmacy

Benefits Manager (“PBM”)—for many generic drugs that are widely available at drastically lower

prices.

          4.   The stark disparity in prices that Defendants accepted is illustrated by teriflunomide

(generic Aubagio, used to treat multiple sclerosis). Anyone with a 30-unit prescription for the

teriflunomide could fill that prescription, without even using their insurance, at Rite Aid for

$32.96, Wegmans for $34.71, ShopRite for $29.24, or from Cost Plus Drugs online pharmacy for

$11.05. Defendants, however, agreed and/or allowed the Plan and its participants/beneficiaries to

pay $6,229 for each 30-unit teriflunomide prescription. The burden for that massive overpayment

falls on JPMorgan’s ERISA Plan, which pays most of the agreed amount from Plan assets, and on

participants/beneficiaries of the Plan, who pay more in the form of increased premiums and

increased out-of-pocket costs. No prudent fiduciary would agree or allow for its plan and

participants/beneficiaries pay a price that is more than two hundred times higher than the price

available to any individual who just walks into a pharmacy and pays out-of-pocket, and five

hundred sixty times higher than the price available with just a few clicks online.




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Defendants agreed and/or allowed for the Plan and its participants/beneficiaries pay an average

markup of over 211% above what it costs pharmacies to acquire those same drugs. In other words,

Defendants agreed and/or allowed for the Plan and its participants/beneficiaries to pay the Plan’s

PBM, on average, about three times as much as the PBM paid for those very same drugs.

        7.      Defendants failed to satisfy their fiduciary obligations at multiple steps in the

process of administering prescription-drug benefits. Defendants failed to exercise prudence and

failed to act in the interest of participants and beneficiaries in selecting a PBM, in agreeing to allow

the Plan and its beneficiaries to pay unreasonable prices for prescription drugs based on

unreasonable methodologies, in agreeing to contract terms with the PBM that needlessly allow the

PBM to enrich itself at the expense of the Plan and its participants/beneficiaries, in failing to

monitor the PBM and the prices charged for prescription drugs, in failing to address conflicts of

interest, in failing to actively manage and take reasonable measures oversee key aspects of the

company’s prescription-drug program, and failing to take available steps to rein in the PBM’s

profiteering, protect Plan assets, and avoid unnecessary costs to participants and beneficiaries and

protect their interests.

        8.      The price discrepancies noted herein are illustrative of a pervasive and systematic

problem of unreasonable prescription drug charges, despite well-known alternatives available to

Defendants. Among other things, Defendants should have: used their bargaining power to obtain

better rates from their own PBM or another traditional PBM; moved all or parts of their

prescription-drug plan to a “pass-through” PBM that bases its prices on actual pharmacy

acquisition costs rather than inflated and manipulable benchmarks; directed substantial portions of

their prescription-drug program to a well-known online pharmacy that charges only a modest

markup above acquisition cost; and/or taken other steps detailed below. Yet Defendants have



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instead chosen to force the Plan and covered participants and beneficiaries to acquire drugs via

some of the most expensive methods conceivable.

       9.      ERISA requires Defendants to make a diligent and thorough comparison of

alternative service providers in the marketplace, to seek to minimize the costs for the goods and

services to be provided, and to continuously monitor Plan expenses and ensure that they remain

reasonable under the circumstances. Defendants did not do those things, and certainly not to the

extent ERISA requires. Defendants breached their fiduciary duties by failing to engage in a

prudent and reasoned decision-making process. If Defendants had engaged in a prudent and

reasoned decision-making process, they would have known of, and adopted, many of the numerous

options that would have drastically lowered the cost of prescription drugs, and would have resulted

in other cost savings for the Plan and its participants and beneficiaries. Implementing those

available options would have saved the Plan and its participants/beneficiaries millions of dollars

over the proposed class period.

       10.     Defendants’ failure to take these measures was not merely inattentive or negligent

– it was willful. JPMorgan’s own trade organizations recommended the very types of measures

that Defendants failed to take here. Indeed, at one point, JPMorgan founded a venture, Haven

Healthcare, with an eye toward reigning in abuses by PBMs and reducing costs for employer-

sponsored health plans and their participants/beneficiaries. However, JPMorgan later backed away

from Haven Healthcare and disregarded the teachings of its trade organizations with respect to

PBM oversight and cost control because it did not want to jeopardize its lucrative investment

banking and other business interests in the health care space. In short, JPMorgan placed its own

business interests ahead of those of the Plan and its participants and beneficiaries in letting matters




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slide with respect to the Plan’s PBM and prescription drug program, and the costs of that program.

This breached Defendants’ duty of loyalty under ERISA, in addition to their duty of prudence.

          11.   Defendants also violated ERISA’s strict prohibitions on transactions with parties-

in-interest. To ensure that plan assets are not wasted through irresponsible outsourcing of fiduciary

functions, Congress prohibited all exchanges of property between an ERISA plan and a third-party

service provider, all furnishing of services between an ERISA plan and a third-party service

provider, and all transfers of assets between an ERISA plan and a third-party service provider

unless plan fiduciaries demonstrate that such transactions fall within specifically enumerated

prohibited transaction exemptions.       Because Defendants will be unable to show that the

compensation paid to Caremark was “reasonable,” and because they will be unable to show that

any other exemption applies, Defendants also violated ERISA’s prohibited-transaction provisions.

          12.   To remedy these fiduciary breaches and prohibited transactions, Plaintiffs,

individually and on behalf of the Plan and all others similarly situated, bring this action under 29

U.S.C. § 1132 to enforce Defendants’ liability under 29 U.S.C. § 1109, to enjoin Defendants from

breaching their fiduciary duties and violating ERISA’s prohibited transaction rules, to make good

to the Plan and its participants and beneficiaries all losses resulting from each fiduciary breach and

prohibited transaction, and for other equitable relief specified below.

I.        PARTIES AND OTHER RELEVANT ENTITIES

          13.   Plaintiff Seth Stern is a “participant” in the Plan within the meaning of ERISA §

3(7), 29 U.S.C. § 1002(7). Stern began employment with JPMorgan in October 2006 and remains

employed by JPMorgan. Stern paid premiums and purchased prescription drugs through the Plan

and has been financially injured by the fiduciary breaches and prohibited transactions alleged

herein.



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       14.     Plaintiff Angela Bindner was a “participant” in the Plan within the meaning of

ERISA § 3(7), 29 U.S.C. § 1002(7). Binder began employment with JPMorgan in November 2001

and ended her employment in November 2022. Binder paid premiums and purchased prescription

drugs through the Plan and has been financially injured by the fiduciary breaches and prohibited

transactions alleged herein.

       15.     Plaintiff Marianne Schmitt was a “participant” in the Plan within the meaning of

ERISA § 3(7), 29 U.S.C. § 1002(7). Schmitt began employment with JPMorgan in November

2022 and ended her employment in September 2024. Schmitt paid premiums and purchased

prescription drugs through the Plan and has been financially injured by the fiduciary breaches and

prohibited transactions alleged herein.

       16.     Plaintiffs bring this lawsuit on behalf of themselves, on behalf of all others similarly

situated, and on behalf of the JPMorgan Plan, to remedy Defendants’ mismanagement of the Plan

and to obtain appropriate relief under ERISA.

       17.     The Plan is an employee welfare benefit plan as defined at 29 U.S.C. § 1002(2)(A),

and is subject to ERISA. The purpose of the Plan is to provide medical benefits, including

prescription drug benefits, to employees of JPMorgan, as well as to their family members.

According to the Plan’s most recent Form 5500 filed with the Department of Labor, “The Plan is

administered by a Plan administrator who is appointed by the Board of Directors of JPMorgan

Chase or JPMorgan Chase Bank, N.A.” The Plan’s prescription-drug benefits are managed by a

third-party service provider called CVS Caremark (“Caremark”). The Plan pays Caremark about

$3 million annually in administrative fees, plus many millions more in fees that Caremark collects

from the Plan and its beneficiaries/participants through its spread pricing and retention of rebates,

as described below.



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       18.     Defendant JPMorgan Chase & Co. (“JPMCo”) is a multinational financial services

company, which earned approximately $240 billion in revenue in the 2023 fiscal year, placing it

21st on the 2024 Fortune 500. JPMCo is a Plan “employer” for purposes of ERISA, see 29 U.S.C.

§ 1002(5), and is also a Plan fiduciary that exercises discretionary responsibility, authority, and

control with respect to the management and administration of the Plan and the disposition of Plan

assets. Together with its subsidiary, JPMorgan Chase Bank N.A., JPMCo exercises overall

supervisory authority with respect to the Plan, and on information and belief, was privy to the

Plan’s contract with Caremark and prescription drug prices under that contract. Accordingly,

JPMCo bears direct fault for the overcharges alleged herein. JPMCo also has co-authority and

responsibility to appoint the Plan Administrator, and exercises such authority. In addition, JPMCo

has unilateral authority and responsibility to appoint the members of the Compensation Committee

of its Board of Directors, which also plays an important fiduciary role with respect to the Plan as

detailed below. As an appointing fiduciary, JPMCo has a fiduciary duty to monitor its appointed

fiduciaries and ensure their performance satisfies ERISA’s fiduciary duties and other statutory

requirements. JPMCo is liable for the fiduciary breaches and other ERISA violations of Plan

Administrator and Compensation Committee as an appointing and monitoring fiduciary, and also

as a co-fiduciary under 29 U.S.C. § 1105. Further, JPMCo is responsible for the breaches and

other ERISA violations of the JPMorgan U.S. Benefits Executive and/or other persons identified

herein because they were acting in the course and scope of their employment, and JPMCo did not

make reasonable efforts under the circumstances to remedy the breaches and violations.

       19.     Defendant JPMorgan Chase Bank N.A., (“JPMBank”) is one of the nation’s largest

banks and a wholly-owned subsidiary of JPMCo. JPMBank is the designated “sponsor” of the

Plan, a Plan employer, and a fiduciary of the Plan that exercises discretionary responsibility,



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authority, and control with respect to the management and administration of the Plan and the

disposition of Plan assets. As the plan sponsor, JPMBank has overall supervisory authority with

respect to the Plan, and it exercises such authority together with JPMCo. As Plan sponsor,

JPMBank was privy to the Plan’s contract with Caremark and prescription drug prices under that

contract, and shares direct fault for the overcharges alleged herein. JPMBank also has co-authority

and responsibility to appoint the Plan Administrator. As an appointing fiduciary, JPMBank has a

fiduciary duty to monitor its appointed fiduciaries and ensure their performance satisfies ERISA’s

fiduciary duties and other statutory requirements. JPMBank is liable for the fiduciary breaches

and other ERISA violations of Plan Administrator as an appointing and monitoring fiduciary, and

also as a co-fiduciary under 29 U.S.C. § 1105. Further, JPMBank is responsible for the breaches

and other ERISA violations of the JPMorgan U.S. Benefits Executive and/or other persons

identified herein because they were acting in the course and scope of their employment, and

JPMBank did not make reasonable efforts under the circumstances to remedy the breaches and

violations.

       20.     Defendant JPMorgan Chase U.S. Benefits Executive (“Benefits Executive”) is the

named Plan Administrator, and as such, a named Plan fiduciary. In addition, the Benefits Executive

is a functional fiduciary because the Plan Administrator exercises discretionary responsibility,

authority, and control with respect to the management and administration of the Plan.

       21.     Defendant Bernadette J. Branosky has served as the Benefits Executive and Plan

Administrator since at least 2015 according to the Plan’s Form 5500s filed with the Department of

Labor, and as such, is a fiduciary of the Plan.

       22.     Defendant      Compensation         &       Management    Development    Committee

(“Compensation Committee”) has the stated responsibility to “review and approve changes in the



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corporation’s qualified benefit plans that result in a material change in costs or the benefit levels

provided.” The Compensation Committee also purports to oversee “the delegation of authority to

the Head of Human Resources and the Chief Financial Officer … to appoint the Plan Administrator

for employee benefit plans subject to ERISA; approve the Fiduciary Rules; and receive reports

regarding the operation of the employee benefit plans.” In these capacities, among others, the

Compensation Committee exercises discretionary responsibility, authority, and control with

respect to the management and administration of the Plan and the disposition of Plan assets, and

serves as a functional fiduciary of the Plan and a co-fiduciary together with the other fiduciaries.

       23.     Defendant Stephen B. Burke is a member of the Compensation Committee who has

served on the Committee since 2004, and as such, is a fiduciary of the Plan.

       24.     Defendant Linda B. Bammann is a member of the Compensation Committee who

has served on the Committee since 2013, and as such, is a fiduciary of the Plan.

       25.     Defendant Todd A. Combs is a member of the Compensation Committee who has

served on the Committee since 2016, and as such, is a fiduciary of the Plan.

       26.     Defendant Virginia M. Rometty is a member of the Compensation Committee who

has served on the Committee since 2020, and as such, is a fiduciary of the Plan.

       27.     All or most of the Plan’s expenses are paid from the JPMorgan Chase VEBA Trust

for Active Employees (“the Trust”), which is an employer-sponsored trust established under I.R.C.

§ 501(c)(9) for the payment of medical benefits, including prescription drug benefits, under the

Plan. The Trust’s IRS Form 990 submission states: “The primary exempt purpose of the VEBA

trust is to provide life insurance, medical, and/or other benefits for certain JPMorgan Chase active

employees and their eligible dependents.” The Trust is funded by a combination of employer and

employee contributions, along with investment income. In the most recent year of reporting, the



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Plan’s participants made approximately $714.15 million in contributions to the Trust. The funds

held by the Trust are assets of the Plan and must be used for the exclusive benefit of the Plan’s

participants and their beneficiaries. No portion of the Trust may revert to JPMorgan or be used

for or diverted to any purpose other than for the exclusive benefit of participants in the Plan and

their beneficiaries. The Trust’s most recent Form 990 filing with the IRS is signed by Bernadette

Branosky. As noted above, Defendant Branosky is the Plan Administrator and Benefits Executive.

II.    JURISDICTION AND VENUE

       28.     This Court has exclusive subject-matter jurisdiction under 29 U.S.C. § 1132(e)(1)

and 28 U.S.C. § 1331 because this is an action under 29 U.S.C. § 1132. Plaintiffs have been injured

by the unlawful conduct alleged herein and have standing to bring this action.

       29.     Venue is proper in this district under 29 U.S.C. § 1132(e)(2) because it is the district

in which “a defendant resides or may be found.” Specifically, JPMorgan is headquartered in New

York, New York. In addition, it is the district where at least one alleged breach or unlawful act

took place.

III.   FACTUAL AND LEGAL BACKGROUND

       A.      Prescription-Drug Plans and Fiduciary Duties Under ERISA

       30.     Employers are the principal source of health benefits for working-age Americans

in the United States. To provide those benefits, many employers sponsor employee benefit plans.

The vast majority of employee health benefit plans include coverage for prescription drugs.

Broadly speaking, the prescription-drug portion of an employee health plan covers a portion of the

costs of an employee’s prescription drugs. The employee is responsible for a portion of a monthly

or bi-weekly insurance premium and for the full cost of purchased prescriptions until they meet

any applicable deductible. Once the employee meets the deductible, the plan begins to cover a

portion of the cost, and the employee continues to pay either a co-pay (often a set cost) or co-

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insurance (often a percentage of the price the plan agreed to pay) for each prescription. The

employee’s premium payments are directly based on the plan’s actual costs in past years or an

actuarial projection of future costs that is heavily influenced by past costs. The employee’s

deductible, co-pay, and co-insurance amounts are set according to the plan documents. Costs are

based on the plan’s contractual arrangements with third-party service providers, typically a

combination of insurers and PBMs, who work as intermediaries between the plan and the

healthcare delivery system by negotiating on behalf of the plan with doctors, hospitals, pharmacies,

and pharmaceutical companies.

       31.     Prescription-drug plans (or the broader health care plans of which they are often a

part), like other employee welfare benefit plans established by private-sector employers, are

governed by ERISA. ERISA protects the interests of employee benefit plan participants and their

beneficiaries by establishing standards of conduct, responsibilities, and obligations for fiduciaries

of employee benefit plans. In ERISA terms, an employer who offers a welfare plan to its

employees (and, typically, its employees’ family members) is called a “plan sponsor.”

       32.     Anyone who exercises any discretionary authority or discretionary control over the

management of an employee-benefit plan, and anyone who exercises any authority or control

respecting management or disposition of the assets of an employee-benefit plan, is a fiduciary of

the plan.

       33.     ERISA imposes strict fiduciary duties of loyalty and prudence on the fiduciaries of

employee-benefit plans, including healthcare plans and prescription-drug plans. The duty of

loyalty requires fiduciaries to act “solely in the interest of the participants and beneficiaries … for

the exclusive purpose of: (i) providing benefits to participants and their beneficiaries; and (ii)

defraying reasonable expenses of administering the plan.” 29 U.S.C. § 1104(a)(1)(A). The duty



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of prudence requires fiduciaries to exercise the “care, skill, prudence, and diligence” that would

be expected in managing a plan of similar scope. 29 U.S.C. § 1104(a)(1)(B). A fiduciary’s process

must bear the marks of loyalty, skill, and diligence expected of an expert in the field. Courts have

described these fiduciary duties as “the highest known to the law.”

       34.     Specifically, 29 U.S.C. § 1104(a) states, in relevant part, that:

               (1) [A] fiduciary shall discharge his duties with respect to a plan
                   solely in the interest of the participants and beneficiaries and—

                       (A) for the exclusive purpose of:

                              (i) providing benefits to participants and their
                              beneficiaries; and
                              (ii) defraying reasonable expenses of administering
                              the plan;

                       (B) with the care, skill, prudence, and diligence under the
                       circumstances then prevailing that a prudent man acting in a
                       like capacity and familiar with such matters would use in the
                       conduct of an enterprise of a like character and with like
                       aims.

       35.     Under ERISA, fiduciaries must act prudently and for the exclusive benefit of

participants and beneficiaries in the plan when they select service providers for the plan.

Fiduciaries must conduct an independent investigation and consider alternatives when initially

selecting service providers, and must continue to monitor and critically review the performance

and cost of such service providers after they are appointed. The common law of trusts, which

informs ERISA’s fiduciary duties, emphasizes the duty to avoid unwarranted costs.              The

Restatement (Third) of Trusts explains, “[i]mplicit in a trustee’s fiduciary duties is a duty to be

cost-conscious.”

       36.     Plan fiduciaries must also ensure that their agreements with service providers and

the amounts they pay to those service providers are reasonable. Fiduciaries must seek to minimize

the costs for the level of goods and services to be provided, and continuously monitor expenses to
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ensure that they remain reasonable and appropriate under the circumstances. Fiduciaries of large

plans like the JPMorgan Plan also cannot ignore the power their plans wield to obtain favorable

rates. Put simply, wasting beneficiaries’ money is imprudent.

        37.     Fiduciaries cannot discharge their fiduciary duties simply by relying on the advice

of third-party service providers, consultants, or experts. As the Restatement explains, “[a]fter

obtaining advice or consultation, the trustee can properly take the information or suggestions into

account but then … must exercise independent, prudent, and impartial fiduciary judgment on the

matters involved.” Fiduciaries also cannot discharge their fiduciary duties simply by relying on

the advice of third-party service providers, consultants, or experts who have conflicts of interest

that may prevent them or inhibit them from providing advice solely for the benefit of the plan.

        38.     ERISA’s fiduciary duties are supplemented by an extensive list of transactions that

are strictly prohibited and considered per se violations of ERISA because they entail a high

potential for abuse. To ensure that plan assets are not wasted through outsourcing of fiduciary

functions, Congress presumptively prohibited all exchanges of property between an ERISA plan

and a third-party service provider, all furnishing of services between an ERISA plan and a third-

party service provider, and all transfers of assets from an ERISA plan and a third-party service

provider (referred to as a “party in interest”).

        39.     Specifically, 29 U.S.C. § 1106(a)(1) states, in relevant part, that:

                [A] fiduciary with respect to a plan shall not cause the plan to engage
                in a transaction, if he knows or should know that such transaction
                constitutes a direct or indirect –

                        (A) sale or exchange, or leasing, of any property between the
                        plan and a party in interest; [or]
                        ***
                        (C) furnishing of goods, services, or facilities between the
                        plan and a party in interest;



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                       (D) transfer to, or use by or for the benefit of a party in
                       interest, of any assets of the plan.

       40.     These presumptively prohibited transactions become permissible only if the plan

fiduciary can demonstrate the applicability of one of the exemptions in 29 U.S.C. § 1108.

Generally speaking, a contract between a plan and a third-party service provider will not be exempt

from the list of prohibited transactions unless the plan fiduciary can demonstrate that the

compensation the plan agreed to pay the third-party service provider is “reasonable,” the service

is necessary, and the plan fiduciary obtained extensive disclosures from the third-party service

provider before entering into the contract, to protect against conflicts of interest.

       41.     A plan fiduciary who breaches their fiduciary duties or causes the plan to engage

in a prohibited transaction is personally liable for the relief specified in 29 U.S.C. § 1109(a), which

provides:

               Any person who is a fiduciary with respect to a plan who breaches
               any of the responsibilities, obligations, or duties imposed upon
               fiduciaries by this subchapter shall be personally liable to make
               good to such plan any losses to the plan resulting from each such
               breach, and to restore to such plan any profits of such fiduciary
               which have been made through use of assets of the plan by the
               fiduciary, and shall be subject to such other equitable or remedial
               relief as the court may deem appropriate, including removal of such
               fiduciary.

       42.     In addition to this Plan relief, which is specifically available under 29 U.S.C. §

1109(a) and 1132(a)(2), a plan participant or beneficiary may also obtain injunctive relief,

surcharge, and other equitable relief under 29 U.S.C. § 1132(a)(3) from a plan fiduciary who

breaches their fiduciary duties or causes the plan to engage in prohibited transactions, as well as

attorneys’ fees and costs pursuant to 29 U.S.C. § 1132(g).




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       B.      Management and Administration of Prescription-Drug Plans

       43.     Prescription-drug transactions work as follows: When a person with prescription-

drug insurance goes to their pharmacy to buy a prescription drug, that person makes a claim on

their prescription-drug plan. If the person has yet to meet an applicable deductible, they are

responsible for the full cost of the drug at plan rates. Once they have met their annual deductible

or no deductible applies, the plan often covers some or all of the drug’s cost.

       44.     The pharmacist sends a query to the insured’s prescription-drug plan, which more

or less instantaneously (i.e. while the insured is at the pharmacy counter) determines whether the

drug is covered under the insured’s plan. The plan communicates to the pharmacy whether the

claim was approved or denied and the cost of the prescription when using the plan. If the claim is

approved, the pharmacy is informed of the cost of the prescription including any co-pay or

co-insurance amount required from the insured. The pharmacy then collects the co-pay or

co-insurance based on the information provided and dispenses the drug. In a later transaction, the

prescription-drug plan pays the remainder of the drug’s cost to the pharmacy, at a rate negotiated

between the plan and the pharmacy.

       45.     To provide prescriptions for plan members, a prescription-drug plan’s fiduciaries

(either directly or through a designated representative) generally must negotiate rates with a

network of pharmacies at which plan participants and beneficiaries may obtain prescription drugs;

maintain a list of prescription drugs (called a formulary) that will be covered by the plan; maintain

a framework to determine how the cost of those drugs will be shared between the plan and its

participants/beneficiaries; process prescription-drug claims when participants/beneficiaries are at

the pharmacy counter; and reimburse pharmacies for the plan’s portion of the negotiated rates.

       46.     The list of prescription drugs that are covered by a prescription-drug plan is called

a “formulary.”    The formulary is analogous to a commercial health plan’s list of covered
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procedures: just as a commercial health plan will provide different levels of coverage (or no

coverage) depending on the specific medical procedure at issue, a prescription-drug plan will

provide different levels of coverage (or no coverage) depending on the specific prescription drug

at issue. Formularies are typically divided into multiple tiers—for example, a typical formulary

includes several tiers that impact the participant’s cost according to the tier designation. Lower

tiers often have either a small fixed copay or a limited coinsurance progressing to the specialty

tier, typically involving 20% or more in cost-sharing from plan participants. Examples of tiers

with applicable cost sharing include preferred generic, non-preferred generic, preferred brand,

non-preferred brand, and specialty.

       47.     A generic drug is a pharmaceutical drug that contains the same chemical substance

as a drug that was originally protected by chemical patents and sold under a brand name. Generics

are identical to brand-name drugs, but tend to be significantly lower-cost because they are

produced by multiple competing manufacturers. As the Food and Drug Administration explains,

“generic medicines work in the same way and provide the same clinical benefit and risks as their

brand-name counterparts. A generic medicine is required to be the same as a brand-name medicine

in dosage, safety, effectiveness, strength, stability, and quality, as well as in the way it is taken.

Generic medicines also have the same risks and benefits as their brand-name counterparts.”

       48.     Formularies are powerful tools for plan fiduciaries to control the plan’s

prescription-drug costs. For example, when a lower-priced generic version of a drug becomes

available, a prudent fiduciary will add the generic to its formulary and either remove the brand-

name drug or disincentivize its use, in order to reduce costs. This will result in beneficiaries

receiving the lower-priced generic instead of the expensive (but chemically identical) brand-name

drug, which in turn will lower costs for the plan.



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       49.     Other aspects of administering a prescription-drug plan also offer cost-saving

opportunities for prudent plan fiduciaries. For example, a prudent fiduciary will negotiate

favorable drug prices and will implement systems to process claims efficiently and cheaply. A

fiduciary of a sufficiently large plan like the JPMorgan Plan is also in a position to extract financial

concessions from a drug manufacturer (often termed “rebates”) in exchange for agreeing to include

the manufacturer’s drugs on its formulary and/or in a preferred tier on its formulary.

       C.      Pharmacy Benefit Managers and Brokers

               1.      General Background on PBMs

       50.     Many plan fiduciaries contract with third parties to help manage and administer the

prescription-drug portion of their health plans. These third parties are called “pharmacy benefit

managers” or, for short, “PBMs.” PBMs offer various services to prescription-drug plans,

including negotiating with pharmacies to establish pharmacy networks where plan participants and

beneficiaries can obtain prescription drugs; helping manage plans’ formularies; processing

participants’/beneficiaries’ claims in real-time; and contracting with drug manufacturers to secure

price reductions or other financial considerations.

       51.     As a general matter, the PBM handles the day-to-day management of its clients’

prescription drug programs and serves as the middleman between the benefits plan and network

pharmacies. Accordingly, when a plan participant or beneficiary obtains a prescription drug from

a pharmacy, the PBM pays the pharmacy for the cost of the drug (less the participant/beneficiary’s

out-of-pocket responsibility) and then collects payment from the plan. As noted in more detail

below, however, the PBM may attempt to collect more money from the plan than it paid to the

pharmacy, pocketing the difference.

       52.     PBMs are service providers to prescription-drug plans. They are profit-driven

entities that seek to profit from their intermediary role in the prescription-drug ecosystem. The

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largest PBMs are owned by publicly-traded companies and accordingly owe fiduciary duties to

their shareholders to maximize their own profits. As discussed in more detail below, many PBMs

are also part of vertically integrated companies that create obvious conflicts of interest and

incentivize them to take actions that are not in the best interest of their plan clients.

        53.     There are two dominant pricing models for PBMs. “Traditional” PBMs typically

make their money through a combination of spread pricing, rebates, and owning their own

pharmacies, as described below. “Pass-through” PBMs, in contrast, typically make their money

only through administrative fees. They do not engage in spread pricing, they pass through the full

amount of any negotiated rebates to their client plans, and they do not own pharmacies.

                2.      Traditional PBM Model

        54.     In the traditional PBM model, the prices that a prescription-drug plan pays for

prescription drugs are determined in negotiations between plan fiduciaries and the PBM. Those

prices can be determined in any number of ways, limited by only the parties’ willingness to

transact.

        55.     One way that some plan fiduciaries and PBMs structure their agreements is to set

prices for groups of drugs by reference to a specific benchmark price, rather than negotiating a

separate price for each drug.

        56.     One historically prevalent benchmark is called the “Average Wholesale Price” or

“AWP.” In theory, the AWP for a drug is a benchmark that describes the average price that

pharmacies pay to acquire that drug from wholesalers. In reality, as is widely understood by

prudent plan fiduciaries, AWP is not a true representation of actual market prices for either generic

or brand drug products, is highly manipulable by manufacturers and wholesalers, and often bears

little to no relation to a pharmacy’s actual acquisition costs. (A common joke among insiders in

the industry is that AWP stands for “Ain’t What’s Paid.”) The difference between the AWP and
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a pharmacy’s actual acquisition costs can be substantial, and sometimes arbitrarily so. Researchers

have found several examples in which the AWP for a drug was 50, 70, or even 100 times higher

than the drug’s actual cost to pharmacies.

       57.     Plan fiduciaries that decide to use a traditional PBM may negotiate a bundled price,

relative to AWP, for all generic drugs; a bundled price, relative to AWP, for all brand-name drugs;

and a bundled price, relative to AWP, for all “specialty” drugs. For example, a plan may agree to

pay its PBM “AWP minus 85%” for generic drugs, “AWP minus 20%” for brand drugs, and “AWP

minus 15%” for “specialty” drugs. These prices might vary further based on whether the

prescription is for a 30-day supply or a 90-day supply or based on other factors, including whether

the prescription is filled at the PBM’s own pharmacy. These prices are negotiable between the

traditional PBM and the plan fiduciaries.

       58.     Critically, however, the prices the plan agrees to pay its traditional PBM for a

prescription may not bear any relation to the price the PBM will pay the pharmacy for the same

prescription. Any difference between those two amounts is known as the “spread.”

       59.     The “spread” can be a major revenue stream for traditional PBMs. “Spread pricing”

is when a PBM negotiates a price with pharmacies that is lower than the price it charges the

prescription-drug plan, and then instead of passing those savings on to its client plan, pockets the

difference. For example, a PBM may negotiate with a pharmacy for a price of $17 for each

prescription of a certain drug, but then may try to separately negotiate with the plan fiduciaries for

a price of $20 for that same drug. The $3 “spread” between these two negotiated rates represents

profit for the PBM, at the expense of the plan and its participants and beneficiaries. As an example

of how this works in practice, a participant or beneficiary filling this prescription would pay a $5

co-insurance amount to the pharmacy and the PBM would pay the pharmacy $12 more, satisfying



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the PBM’s agreement to pay the pharmacy $17 for the prescription. The PBM would then bill the

plan the remaining $15 (the $20 negotiated price minus the $5 patient co-insurance). The result

for the PBM in the arrangement is that it received $15 from the plan but paid only $12 to the

pharmacy, netting a $3 spread.




       60.     For generic drugs, there is even more of a disconnect between an AWP-based price

paid by a plan and its participants/beneficiaries to the PBM and the price then paid by the PBM to

a pharmacy. This is because the prices that PBMs pay to pharmacies for generic drugs are

generally not based on AWP. Instead, PBMs pay pharmacies for generic drugs based on prices

listed on the PBM’s proprietary “Maximum Allowable Cost” or “MAC” list. A “MAC” list is a

PBM-generated list that includes the maximum amount the PBM will pay a pharmacy for generic

drugs. PBMs have essentially free reign to determine their own pricing methodologies for their

MAC lists, so long as the prices are not so low that pharmacies will refuse to do business or refuse

to stock a drug. One recent study observed that “proprietary PBM prices (i.e., maximum allowable

cost, or MAC) were … highly variable and disconnected from the manufacturer or pharmacy

established price for the medication.” PBMs may also have different MAC lists corresponding to



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different pharmacies (e.g., the MAC prices may be far higher at the pharmacies they own) and

different payers.

          61.   Traditional PBMs engaging in spread pricing try to exploit the disconnect between

the prices they receive from plans and the prices they pay to pharmacies, pocketing the difference

between the two prices. Because of this dynamic (and also for other reasons), it is imperative that

the plan fiduciaries actively monitor PBMs and their pricing, and minimize any excess costs or

spread.

          62.   Traditional PBMs benefit the most when plan participants and beneficiaries are

prescribed drugs with the highest cost to the plan relative to the actual drug acquisition cost, as

this maximizes the “spread” retained by the PBM: the higher the cost to the plan, the more the

PBM receives as revenue; the lower the drug acquisition cost, the less the PBM must pay to the

pharmacy. PBMs in such an arrangement are financially motivated not to make formulary

decisions based on which drugs have the lowest cost to the plan and its participants and

beneficiaries, but rather based on which drugs allow them to pocket the largest spread. Prudent

fiduciaries therefore closely supervise their formularies and carefully negotiate their payment

structures to ensure that PBMs are not acting based on considerations that run contrary to the

interests of the plan and its participants and beneficiaries.

          63.   Because of the pronounced disconnect between AWP and acquisition cost for

generic drugs, many prudent fiduciaries negotiate generic pricing based on pharmacy acquisition

costs instead of with reference to AWP. These fiduciaries negotiate either a fixed, pre-determined

price for each medication derived from each medication’s acquisition cost, or a formula based on

actual pharmacy acquisition costs. Basing prices on pharmacy acquisition costs rather than AWP

significantly reduces overall spending on generic drugs, limits spread pricing, and eliminates the



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variability in pricing inherent in AWP-based pricing models. Instead of agreeing to pay prices

based on a “discount” from a made-up benchmark (AWP) that does not correspond to the actual

cost of prescription drugs, prudent fiduciaries agree to pay reasonable prices based on the actual

acquisition cost of the drugs their members use.

       64.     Another potential revenue stream for traditional PBMs is through “rebates” and

other financial concessions from drug manufacturers. Drug manufacturers often pay “rebates” to

the PBM in exchange for securing either formulary or tier placement for their drugs. These

“rebates” are generally based on the quantity of drugs dispensed under the plans administered by

the PBM, and the manufacturer typically pays the PBM quarterly. For example, a manufacturer

may rebate a percentage of the total PBM volume for a specific drug.

       65.     Plans and traditional PBMs negotiate over how much of any such rebate or price

concession will be retained by the PBM and how much will be passed through to the plan

(represented either as a percentage or a flat amount per prescription). Traditional PBMs may

attempt to denominate rebates by other names to obscure their nature, or hide these rebates by

purchasing medications from a wholly owned group purchasing organization that sells drugs back

to the PBM (“GPO”) to try to reduce the amounts they are contractually obligated to pass on to

their client plans. Any amount the PBM retains is revenue for the PBM.

       66.     Prudent fiduciaries negotiate with their PBMs to minimize or eliminate any portion

of rebates or other financial concessions from manufacturers that the PBM or its GPO retains

instead of passing through to the plan. Prudent fiduciaries likewise ensure that their PBM contract

is written with sufficient precision that the PBM cannot hide or obscure these rebates to avoid

passing them through to the plan. While such rebates are not per se unlawful, prudent fiduciaries

have a responsibility to ensure that the PBM and its affiliated entities are not receiving



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unreasonable compensation via such revenue sharing arrangements at the expense of the plan and

its participants and beneficiaries.

       67.     Some traditional PBMs also earn revenue through ownership of pharmacies.

Caremark, for example, is vertically integrated with the mail-order pharmacy CVS Specialty.

When PBMs own their own pharmacies, they may attempt to steer beneficiaries of their clients’

prescription-drug plans to those pharmacies, including by requiring beneficiaries to pay more out-

of-pocket at competitors’ pharmacies or by refusing to cover prescriptions obtained at competitors’

pharmacies. In addition, traditional PBMs may “agree” to excessively high reimbursement rates

with the pharmacies they own (i.e., reimbursement rates that greatly exceed the pharmacy’s actual

acquisition costs)—rates that the PBM would never agree to pay in a truly market-based

transaction. Through this arrangement, PBMs can misleadingly represent to plans that they are

not engaging in spread pricing (i.e., they can promise that they are charging the plan the same

amount they are paying the pharmacy), even though that is technically true only because the PBM

“agreed” to pay its own pharmacy excessive amounts. In reality, the mechanism is the same as

spread pricing—i.e., the traditional PBM charges the plan far more than the drug actually costs,

and then the PBM or its affiliated pharmacy pockets the difference.

       68.     There are several traditional PBMs in the marketplace that are capable of providing

a high level of service and that will vigorously compete to win a PBM contract from a Fortune 50

company like JPMorgan. To ensure that they are continuing to manage the plan’s costs and incur

only reasonable expenses, prudent fiduciaries conduct open RFP processes to obtain competitive

bids for PBM services at regular intervals and ensure that the rates and terms to which they agree

continue to reflect the best rates and terms available in light of the plan’s size, bargaining power,




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and other characteristics. At a minimum, it is necessary to regularly survey the market to ensure

that the plan and its participants and beneficiaries are not paying excessive costs.

               3.      The “Pass-Through” PBM Model

       69.     One alternative to the traditional PBM model is the “pass through” model. The

payment structure for the pass-through model is more transparent and straightforward, and it

provides plan sponsors with a reasonable alternative to traditional PBMs that offers many

advantages including reduced costs.1 In the pass-through PBM model, the amount that the PBM

bills the plan is equal to the amount the PBM pays the pharmacy. In this model, the PBM does

not engage in spread pricing and commits to passing through all discounts and rebates, however

denominated, to the plan. The pass-through PBM earns revenue based only on a flat administrative

fee it charges to the plan, usually assessed on a per-member, per-month basis (similar to a per-

head fee for recordkeeping services to a retirement plan). Pass-through PBMs typically base their

costs on actual pharmacy acquisition costs. Pass-through PBMs still negotiate for rebates and

discounts from manufacturers, and they more effectively pass those rebates and discounts through

to their clients instead of keeping them for themselves. This keeps incentives aligned. The rebates

and discounts that many pass-through PBMs negotiate are comparable, and in some cases identical,

to the rebates and discounts available to traditional PBMs.

       70.     Because pass-through PBMs do not benefit from rebates or spread pricing, they

have no incentive to favor drugs on any factor other than what is in the best interest of the plan

and its participants and beneficiaries. Whereas a traditional PBM is typically incentivized to select




1
    See,   e.g.,    https://www.cap-rx.com/insights/the-upside-of-a-single-ledger-model-tm-in-
pharmacy-benefits (last visited May 10, 2024).
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drugs with higher rebates and/or that allow for higher spreads—even if those drugs have higher

net costs for the plan—pass-through PBMs have no such incentives or conflicts of interest.

       71.    Using a pass-through PBM does not negatively affect the patient experience

compared to a traditional PBM, and in many cases improves the experience. Most pass-through

PBMs have network agreements with many or all major pharmacies, allowing plan beneficiaries

to obtain their prescriptions from a wide range of pharmacies, including most or all of the

pharmacies that are in-network for traditional PBMs. For example, the pass-through PBM Navitus

has network agreements with CVS, Walgreens, Walmart, Rite Aid, Giant, Stop & Shop,

Wegman’s, Publix, Kroger, Costco, and many others. Similarly, the pass-through PBM Capital

Rx “maintains a national network of more than 65,000 pharmacies, including all national chains

and most independent pharmacies.” Pass-through PBMs also partner with mail-order pharmacies,

including for specialty drugs, that can provide plan participants and beneficiaries with the same

(or greater) level of convenience as a traditional PBM’s mail-order pharmacy.

       72.    Pass-through PBMs are able to obtain the same drugs from manufacturers as

traditional PBMs. Any prescription-drug plan that wants to include or exclude any specific drug

on its formulary can do so with either a pass-through PBM or a traditional PBM. Pass-through

PBMs also offer the same types of services—and, if anything, more personalized services—than

traditional PBMs.

       73.    There are numerous pass-through PBMs in the marketplace that are capable of

providing a high level of service and will vigorously compete to win a PBM contract from a

Fortune 50 company like JPMorgan. To ensure that they are continuing to manage the plan’s costs

and incur only reasonable expenses, prudent fiduciaries conduct open RFP processes to obtain

competitive bids for PBM services at regular intervals from both traditional PBMs and pass-



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through PBMs, and also ensure that the rates and terms to which they agree continue to reflect the

best rates and terms available in light of the plan’s size, bargaining power, and other characteristics.

At a minimum, it is necessary to regularly survey the market, including pass-through PBMs, to

ensure that the plan and its participants and beneficiaries are not paying excessive costs.

       74.     Prudent fiduciaries choose carefully among PBMs, analyzing multiple PBMs’

offerings to decide which PBM and which payment model will be most beneficial and most cost-

effective for the plan.       Prudent fiduciaries also negotiate favorable terms with PBMs and

continually supervise their PBM’s actions to ensure that the plan is minimizing costs and

maximizing outcomes for beneficiaries. Prudent fiduciaries retain sufficient control over their

plans’ formularies to prevent the PBM from making formulary decisions that serve the PBM’s

interests but not the plan’s interests. Prudent fiduciaries also periodically attempt to renegotiate

their PBM contracts, conduct marketplace surveys, and/or conduct an open RFP process to solicit

proposals from other PBMs and ensure that they have the best possible deal for the plan and plan

participants/beneficiaries.

               4.      Brokers

       75.     Many plan sponsors hire consultants and/or brokers to assist them with soliciting

bids from, selecting, and negotiating with a PBM. A plan sponsor’s broker may serve as the broker

for a range of the plan sponsor’s vendor agreements but recommend that the plan sponsor hire a

consultant (usually one affiliated with the brokerage) to assist specifically with the PBM selection

process. For simplicity, consultants and brokers together are referred to here as “employee benefit

consultants” (“EBCs”) or “PBM reseller coalitions.” EBCs are service providers to prescription-

drug plans. They are profit-driven entities that seek to profit from their intermediary role in the

prescription-drug ecosystem.



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       76.     Some EBCs, while purporting to act in the interest of prescription-drug plans, are

in fact being paid by PBMs in ways that incentivize them to act against the plan’s interests. For

example, PBMs may promise to pay an EBC a commission on every prescription if the EBC

recommends the PBM to its client plans. As one media outlet reported, “[c]onsulting firms can

collect at least $1 per prescription from the largest PBMs, according to more than a dozen

independent drug benefits consultants and attorneys involved with employers’ PBM contracts.

That can go as high as $5 per prescription in extreme cases, three of those people said. Consulting

firms and brokerages may receive a certain dollar amount for each covered employee and member.

Or they may share in the rebates that the PBMs pluck from pharmaceutical manufacturers —

money that otherwise could be used by employers to lower premiums for their workers.”

       77.     According to one report, an EBC managing an RFP process refused to allow a PBM

to even enter a bid for a plan’s contract unless the PBM agreed to pay the EBC $6.50 per

prescription. In an apparent attempt to hide the payment, the EBC asked the PBM to mail the

payments quarterly to a PO box in another state.

       78.     Industry experts have warned that many EBCs or brokers “not only give bad advice

to the employer that’s in the broker’s self-interest, but the broker also allows the big PBM to write

crazy terms into a contract.”

       79.     Some EBCs, while purporting to manage an open RFP process for their client

prescription-drug plans, will refuse to solicit bids from PBMs that decline to offer the EBC

kickbacks or other forms of indirect compensation.

       80.     Prudent fiduciaries ensure that any EBC they hire to help them select and negotiate

with a PBM does not have conflicts of interest that would prevent it from offering objective advice

to the plan and operating a truly open RFP process. Prudent fiduciaries would not hire an EBC



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that was receiving kickbacks or other forms of compensation from the PBM it was assisting in

selecting or negotiating with, or who would refuse to solicit bids or accept offers from PBMs who

were not paying kickbacks or providing other forms of compensation. As one media outlet put it,

“[e]mployers … may be neglecting their legal duty by not asking their consultants and brokers to

disclose all the sources of their revenue.”

       81.     Prudent fiduciaries exercise—and are required to exercise—independent, prudent,

and impartial fiduciary judgment even on matters for which they receive advice from EBCs.

       82.     Section 202 of the 2021 Consolidated Appropriations Act prohibits covered plans

from entering into a contract, renewal, or extension of services for the plan with “covered service

providers,” which includes EBCs, without first requiring the covered service provider to disclose,

in writing, any and all direct and indirect compensation in excess of $1,000 it receives for providing

services to the plan. A covered plan’s failure to obtain the required disclosures from a covered

service provider under Section 202 makes its contract with that service provider a prohibited

transaction under ERISA. Prudent fiduciaries obtain the required disclosures from their EBCs and

ensure that the disclosures are sufficiently clear and unambiguous, and that no conflict of interest

exists, before entering into, renewing, or extending their contract.

               5.      Fiduciary responsibilities with respect to PBMs and EBCs, and
                       consequences of failing to satisfy those responsibilities

       83.     The fiduciaries of a prescription-drug plan have control over the plan’s expenses,

formulary, and choice of third-party service providers (including PBMs and EBCs). Their control

over the formulary includes which drugs will be covered by the plan and in which tier of the

formulary any covered drug will be placed. The fiduciaries are also responsible for hiring third-

party service providers, for negotiating the terms of their agreements with those third-party service




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providers (including drug prices), and for exercising continued oversight over the service providers

and any aspect of the plan for which a third-party service provider is contractually responsible.

       84.     These fiduciary responsibilities (and how they are carried out) have the potential to

dramatically affect the amount of money the plan pays for prescription drugs. Accordingly,

fiduciaries of prescription-drug plans must engage in a rigorous process to manage the plan’s

formulary, oversee any formulary management performed by a third-party vendor, and ensure that

the plan pays no more than reasonable amounts for prescription drugs. This is particularly true for

Fortune 50 companies like JPMorgan with tens of thousands of employees in their plans, which

have the bargaining power to obtain the most favorable terms from third-party vendors.

       85.     When fiduciaries agree to overpay for prescription drugs, employees—and

especially the sickest employees—bear much of the burden.

       86.     First, employees are typically responsible for the entire cost of covered items until

they meet their deductible. After meeting their deductible, employees remain responsible for a co-

pay or co-insurance amount thereafter. Accordingly, if plan fiduciaries agree to inflated prices for

prescription drugs, the participating employees or beneficiaries receiving those drugs are required

to pay some or all of those inflated prices out-of-pocket. This is true for Plaintiffs and many other

class members who purchase prescription drugs through the Plan.

       87.     Second, a co-insurance amount is often calculated as a percentage of the pre-rebate

(gross) price, so the participant/beneficiary’s out-of-pocket responsibility ends up being a higher

percentage of the net price than stated in the plan documents. This is true for likewise true for

Plaintiffs and other class members who purchase prescription drugs through the Plan.

       88.     Third, the amounts that a health plan spends on prescription drugs directly affects

the premiums that all plan members must pay for the prescription-drug portion of their benefit



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plans. At least 85% of the premium cost for large plans like the Plan is attributable to prescription

drug outlays and other healthcare expenditures (with the remainder attributable to administrative

costs, risk or pooling charges, and reserve set asides). Accordingly, if plan fiduciaries agree to

inflated prices for prescription drugs, they pass those inflated prices on to all employees and plan

members—even those who did not receive any prescription drugs—through increased premiums.

Indeed, the Federal Trade Commission has explicitly found that inflated drug costs “result in

higher premiums.”     U.S. Fed. Trade Comm’n, Pharmacy Benefit Managers: The Powerful

Middlemen Inflating Drug Costs and Squeezing Main Street Pharmacies (2024)                     (“FTC

Report”), available at https://www.ftc.gov/system/files/ftc_gov/pdf/pharmacy-benefit-managers-

staff-report.pdf; see also infra at ¶¶ 237-241 (citing other sources identifying same causal link).

This is true for prescription-drug plans generally and Plaintiffs and the Plan specifically.

       89.     Fourth, employers often pass higher health care costs on to their employees in the

form of depressed wages.       In a recent report, the Congressional Budget Office noted that

“[e]mployers’ spending on health insurance represents a large part of their employees’ nonwage

compensation, so employers generally take actions to offset increases in health insurance spending

in order to maintain their profits.” The CBO also cited a recent study finding that increased

healthcare spending by employers was “associated with a rise in employees’ out-of-pocket costs,

an increase in the use of high-deductible health plans, and slower wage growth for employees.”

UC Berkeley researchers summarized recent academic research on this topic: “Increases in health

care costs are coming out of workers’ pockets one way or another. . . . When health care costs rise,

employers can respond in a variety of ways, such as by increasing worker premium contributions,

increasing deductibles or copayment amounts, reducing employment, or increasing their own




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of specialty drugs a significant driver of premiums for all plan participants, including participants

in the JPMorgan Plan, regardless of whether they themselves are prescribed specialty drugs and

pay out-of-pocket costs for those drugs.

       92.     The classification of a generic drug as a “specialty” drug can have a major impact

on the price the plan will be required to pay for that drug because, as suggested in the pricing

example above, many plans agree to pay traditional PBMs rates for “specialty” drugs that are

higher (i.e., have a lower discount from AWP) than the prices they pay for non-specialty drugs.

Because there is no definitive set of objective factors to determine whether any given drug is a

specialty drug, the classification of a drug as “specialty” can be the subject of negotiations between

plan fiduciaries and PBMs, as well as the relative roles of the plan fiduciaries and the PBM in

making those classification decisions.

       93.     Many traditional PBMs are vertically integrated with their own mail-order

“specialty” pharmacies. For example, the PBM CVS Caremark is vertically integrated with CVS

Specialty, the PBM Express Scripts is vertically integrated with Accredo, and the PBM OptumRx

is vertically integrated with Optum Specialty Pharmacy. These “specialty” pharmacies are

typically mail-order pharmacies that do not provide the kind of in-person support that a medical

professional would offer at a traditional specialty pharmacy. Instead, the defining feature of these

PBM-owned “specialty” pharmacies is merely (and circularly) that they dispense the drugs that

the PBM itself deems “specialty.”

       94.     An arrangement in which a plan’s members are incentivized or required to obtain

specialty drugs only from the PBM’s own pharmacy provides powerful incentives for PBMs to

designate generic drugs as “specialty” drugs and/or to inflate the prices of specialty drugs. The

PBM’s costs are limited to its pharmacy’s actual acquisition cost of the drug from the wholesaler



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(which is typically even lower than the MAC price), and yet it can continue to charge the plan the

high AWP-based price designated for “specialty” drugs.

       95.     This model also incentivizes traditional PBMs to favor generic “specialty” drugs

with higher AWPs relative to their actual acquisition costs. If two similar generic “specialty”

drugs cost roughly the same for the PBM’s pharmacy to acquire, the PBM will be incentivized to

favor the one with a higher AWP, as that will maximize the spread between the AWP-based price

it receives from the plan and its actual acquisition cost. The PBM thus might include only the drug

with the higher AWP on its formulary, forcing the plan and its participants/beneficiaries to pay

more but offering no benefit other than profit for the PBM.

       96.     “Specialty” drugs can be a major driver of costs for a prescription-drug plan. While

specialty drugs make up a relatively small percentage of overall prescriptions, they typically

account for more than 50% of a prescription-drug plan’s overall spending. Prudent fiduciaries will

therefore be extra careful to negotiate favorable contract terms regarding specialty drugs to avoid

paying excessive amounts for specialty drugs, closely manage their specialty drug expenditures,

closely supervise their PBMs’ treatment and designation of specialty drugs, and make changes to

their prescription-drug plans as necessary to fulfill their fiduciary obligations.

       97.     Some PBMs offer services focused specifically on specialty drugs. In this kind of

arrangement, a plan uses a traditional PBM for most of its prescription-drug needs, but carves out

management of all specialty drugs to a specialty-focused PBM. In the specialty PBM carve-out

model, responsibility for the entire specialty benefit is carved out to a PBM with a focus on, and

expertise in, management of specialty drugs. These specialty PBMs—who typically use the pass-

through model—can incorporate all aspects of specialty drug management, including claims

processing, specialty formulary, and specialty pharmacy network management. Specialty carve-



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out PBMs do not need to own a specialty pharmacy and have no financial incentive to artificially

promote greater or more expensive drug use—and, as a result, offer substantial savings to plans

and their participants/beneficiaries. Many large companies use the specialty carve-out model for

their prescription-drug plans. For example, DuPont carved out specialty drugs from its contract

with CVS Caremark, and it contracted with the pass-through PBM Archimedes to manage its

specialty-drug program, resulting in substantial savings. Similarly, Signet Jewelers carved out

specialty drugs from its contract with the traditional PBM OptumRx and contracted with

Archimedes to manage its specialty-drug program, with a similar cost-saving effect.

       98.     Plan fiduciaries must be cognizant of PBMs’ self-interest in maximizing their own

profits, and not simply accede to PBMs’ preferences without conducting an independent

investigation or considering alternatives. For example, instead of accepting a PBM’s request that

participants/beneficiaries be offered only a version of a drug manufactured by a company vertically

integrated with the PBM itself, fiduciaries must consider whether participants/beneficiaries (and

the plan writ large) would be better off if they were permitted or encouraged to purchase a lower-

priced version of a medically-equivalent drug manufactured by a different company. Plan

fiduciaries must also engage in a prudent decision-making process with respect to whether to carve

out their specialty-drug program from their broader PBM contract.

       E.      Formulary Management - Brand vs. Generic

       99.     When a pharmaceutical company discovers or designs a potential new drug, it

incurs significant cost in doing research, development, and clinical trials. As part of the process,

the pharmaceutical company obtains a patent for the drug. In the United States, patents for brand-

name drugs generally last 20 years. When the brand-name drug is the only version available on

the market, the price is often quite high because the pharmaceutical company seeks to cover the

cost of the research, development, and clinical trials of the drug, and then turn a profit.
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       100.    Once the patent on the brand-name drug expires, other pharmaceutical companies

may produce their own version of the drug. These versions are known as “generic” versions. The

companies that produce generic versions of a drug are able to sell them for much less than the

brand-name drug, as they did not incur any costs for research or clinical trials. There is no limit

to the number of generic versions of a drug that can be produced, so there are often several

pharmaceutical companies that will produce generic versions of a brand-name drug. This creates

competition in the market and drives prices lower.

       101.    Prudent fiduciaries of prescription-drug plans will generally replace brand-name

drugs on the formulary when lower-cost, FDA-approved generics become available.

Alternatively, prudent fiduciaries will add the generics to the formulary at lower prices and then

incentivize plan participants and beneficiaries to obtain these lower-cost generics instead of the

more expensive brand-name drugs. As CVS’s chief medical officer has put it, “[i]n situations

where the medications are equivalent, from a medical point of view it makes sense to do this in

order to reduce cost.”

       102.    Prudent fiduciaries are aware of the conflicts of interest that PBMs have in making

formulary decisions. The manufacturers of brand-name drugs typically pay rebates or other

financial concessions to PBMs when their drugs are included on formularies and dispensed by the

PBM’s prescription-drug plan clients. PBMs may pass some of these rebates through to the plan,

but any retained amounts represent revenue for the PBM. From the PBM’s perspective, an

expensive brand-name drug from which the PBM is paid a rebate or other financial concession is

more lucrative than a generic drug for which the manufacturer pays no rebate or a smaller rebate.

The PBMs retaining these rebates therefore are incentivized to include higher-priced drugs on a

plan’s formulary to maximize their own profits, even when including a lower-priced drug (e.g., a



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generic) would be more cost-effective for the plan. Prudent plan fiduciaries are aware of these

dynamics and ensure that formulary decisions are being made in the interest of the plan and its

participants and beneficiaries rather than third-party vendors with conflicts of interest.

IV.    DEFENDANTS BREACHED THEIR FIDUCIARY DUTIES

       A.      Defendants Mismanaged the Plan’s Generic-Drug Program

       103.    Defendants imprudently managed the Plan’s generic-drug program, and failed to

act in the best interest of participants/beneficiaries and ensure that expenses were reasonable.

Defendants’ mismanagement has caused the Plan and its participants/beneficiaries to vastly

overpay for prescription drugs, and has cost the Plan and its participants/beneficiaries (including

Plaintiffs) millions of dollars over the Class Period.

       104.    On one or more occasions during the Class Period, Defendants entered into and/or

renewed a contract with Caremark, a traditional PBM, under which Caremark agreed to serve as

the Plan’s PBM and Defendants agreed (or caused the Plan to agree) to various terms regarding

drug prices, formulary management, pharmacy networks, and administrative services.

       105.    On information and belief, the process by which Defendants chose Caremark as the

Plan’s PBM was not an open RFP process, was not otherwise diligent or consistent with applicable

fiduciary standards of care, and did not consider the full range of available options for PBM

services.

       106.    On information and belief, Defendants allowed their selection of a PBM for the

Plan to be guided or managed by a broker with a conflict of interest—i.e., a financial interest in

steering Defendants toward certain PBMs or including certain provisions in the PBM contract, in

ways not necessarily correlated with the financial and other interests of the Plan and its

participants/beneficiaries.



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       107.    The contract between Defendants and Caremark is not public. However, an

analysis of the prices that Defendants agreed and/or allowed the Plan and its

participants/beneficiaries to pay for generic drugs reveals a staggering markup from acquisition

costs for those drugs, a staggering markup from the prices that would be charged by a “pass-

through” PBM, and a staggering markup from prices charged to comparable plans by other

traditional PBMs. These prices greatly exceed the prices that any prudent fiduciary would agree

to pay and are not reasonable.

       108.    Defendants agreed and/or allowed for the Plan and its participants/beneficiaries to

pay unreasonable markups above what it costs for pharmacies to acquire those same drugs. Most

of these markups represent profit the PBM, with no corresponding benefit for the Plan or its

participants/beneficiaries. The markups that Defendants agreed to and/or allowed are higher than

what a pass-through PBM would charge and higher than the amounts even traditional PBMs charge

to their other clients. Defendants squandered their bargaining power and, for many drugs, agreed

and/or allowed for the Plan and its participants/beneficiaries to pay more than someone would pay

if they just walked into a retail pharmacy and filled the same prescription without using insurance.

Put another way, it would be more prudent for Defendants to tell employees not to use their

insurance and instead to give them a company credit card that the Plan was responsible for paying.

This despite JPMorgan having significant bargaining power as a Fortune 50 company with over

300,000 employees. Had Defendants prudently negotiated and continued to monitor the terms of

their PBM contract with Caremark in light of market developments, or had Defendants conducted

a prudent process to inquire as to different PBMs (through an RFP process, market surveys, or

otherwise), the Plan and its participants/beneficiaries would have saved millions of dollars.




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               1.      Pricing Analysis of JPMorgan Plan

       109.    The federal government’s Centers for Medicare and Medicaid Services compiles

the National Average Drug Acquisition Cost (“NADAC”) database. The NADAC database uses

survey data to determine the average pharmacy “acquisition cost” for many prescription drugs.

The “acquisition cost” is the amount that a pharmacy pays to acquire a prescription drug from its

suppliers (typically wholesalers who purchase directly from manufacturers).

       110.    A prescription drug’s NADAC is a widely-accepted benchmark that describes the

average price that pharmacies pay to acquire that drug. As one industry source has explained,

NADAC “offers a standardized benchmark for drug pricing, promoting fairness and transparency

in the healthcare system.” Accordingly, the difference between a prescription drug’s NADAC and

the price that a prescription-drug plan and its participants/beneficiaries pay for that prescription

drug represents the markup to which the plan’s fiduciaries have agreed.

       111.    NADAC is commonly used by other plans as a benchmark for the prices they pay

for prescription drugs. For example, the PBM Capital Rx uses NADAC prices as a benchmark for

the prices it charges its plan clients and does not engage in any additional spread pricing. Its clients

simply pay a small markup above NADAC prices. Similarly, even Express Scripts (a traditional

PBM) offers a “ClearNetwork” product with prices to plans based on the lowest of three

benchmarks, one of which is NADAC. This shows that NADAC is not only a commonly-used

benchmark, but a conservative one, as the ClearNetwork product’s prices are based on the lower

of NADAC and two other benchmarks. And as shown below, many drugs are available from many

pharmacies at amounts below NADAC averages. Defendants, however, imprudently agreed to a

pricing model in which the prices the Plan and its participants/beneficiaries pay for generic drugs

are based on AWP rather than on NADAC or a fixed unit-price schedule.



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       112.    The Plan provides its beneficiaries/participants with two formulary documents: the

“Performance Drug List - Standard Control for Clients with Advanced Control Specialty

Formulary® for JPMorgan Chase Drug List” and the “Advanced Control Specialty Formulary for

JPMorgan Chase®.” For 366 of the 404 generic drugs on these formularies, NADAC information

is publicly available, allowing a comparison between the prices Defendants agreed or allowed to

make the Plan and its participants/beneficiaries pay for a prescription of each drug and the

acquisition cost of the same drug, quantity, and dosage for the average pharmacy. Across all 366

generic drugs, Defendants’ negotiated prices reflect, on average, a markup of 211.1% above

pharmacy acquisition cost. Put another way, the total acquisition cost for one prescription of

each of the 366 drugs would be $38,445.60, but Defendants agreed and/or allowed for prices that

would result in one prescription of each of the 366 drugs costing the Plan and its beneficiaries over

three times as much, or $119,617.92. No prudent fiduciary would agree or allow their PBM to

receive an average 211.1% markup above pharmacy acquisition cost, especially where the PBM

itself owns the pharmacy.

       113.    Many of the markups for specific prescription drugs were particularly high. Several

of these drugs are highlighted below.

       114.    Teriflunomide is a generic medication used to treat multiple sclerosis. According

to the NADAC database, the acquisition cost for pharmacies for teriflunomide is $0.54 per tablet,

or $16.20 for a 30-unit prescription. Defendants, however, agreed and/or allowed for the Plan and

its participants/beneficiaries to pay Caremark $6,229.23 for each 30-unit teriflunomide

prescription. This price reflects an 38,352.04% markup. Teriflunomide is widely available at retail

pharmacies, including Rite Aid, Wegmans, Shoprite, Walgreens, Costco, and others. The cash

price (i.e., the price a person would pay if they did not use insurance) for an teriflunomide



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prescription at every one of these pharmacies is lower than the price Defendants accepted for the

Plan and its participants/beneficiaries. While Defendants accepted a price of $6,229.23 for each

30-unit teriflunomide prescription, the same prescription is available from Rite Aid for $34.76,

Wegmans for $36.20, ShopRite for $30.55, or from Cost Plus Drugs online pharmacy for $11.05.

No prudent fiduciary would agree and/or allow for its plan and participants/beneficiaries to pay a

price that is up to five hundred sixty times higher than the price at which the drug is widely

available.

       115.    Imatinib is a generic oral therapy medication used to treat certain types of leukemia

and bone marrow disorders.       According to the NADAC database, the acquisition cost for

pharmacies for imatinib is $2.23 per tablet, or $66.90 for a 30-unit prescription. Defendants,

however, agreed and/or allowed for the Plan and its participants/beneficiaries to pay Caremark

$6,109.59 for each 30-unit imatinib prescription. This price reflects an 9,032.42% markup.

Imatinib is widely available at retail pharmacies, including ShopRite, Rite Aid, Costco, Wegmans,

Walgreens, Duane Reade, and others. The cash price (i.e., the price a person would pay if they

did not use insurance) for an imatinib prescription at every one of these pharmacies is lower than

the price Defendants accepted for the Plan and its participants/beneficiaries. While Defendants

accepted to a price of $6,109.59 for each 30-unit imatinib prescription, the same prescription is

available from ShopRite for $85.85, Rite Aid for $86.17, Wegmans for $83.17, or from Cost Plus

Drugs online pharmacy for $34.50. No prudent fiduciary would agree and/or allow for its plan

and participants/beneficiaries to pay a price that is up to one hundred seventy times higher than

the price at which the drug is widely available.

       116.    Silodosin is a generic drug used to treat problems caused by an enlarged prostate.

According to the NADAC database, the average acquisition cost for pharmacies for silodosin is



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$0.61 per 8mg tablet, or $54.90 for a 90-unit prescription. Defendants, however, agreed and/or

allowed for the Plan and its participants/beneficiaries to pay Caremark $165.68 for each 90-unit

silodosin prescription. This price reflects a 201.79% markup. Silodosin is widely available at

retail pharmacies, including ShopRite, Rite Aid, Costco, Wegmans, Walgreens, Duane Reade, and

others. The cash price (i.e., the price a person would pay if they did not use insurance) for a

silodosin prescription at every one of these pharmacies is lower than the price Defendants accepted

for the Plan and its participants/beneficiaries. While Defendants accepted a price of $165.68 for

each 90-unit silodosin prescription, the same prescription is available from ShopRite for $20.70,

Rite Aid for $18.60, Wegmans for $20.70, Costco for $31.99, or from Cost Plus Drugs online

pharmacy for $19.83.        No prudent fiduciary would agree and/or allow for its plan and

participants/beneficiaries to pay a price that is up to nine times higher than the price at which the

drug is widely available.

       117.    Ezetimibe-simvastatin is a generic drug used to treat high cholestorol. According

to the NADAC database, the average acquisition cost for pharmacies for ezetimibe-simvastatin is

$0.36 per 10-80mg tablet, or $32.40 for a 90-unit prescription. Defendants, however, agreed and/or

allowed for the Plan and its participants/beneficiaries to pay Caremark $242.98 for each 90-unit

ezetimibe-simvastatin prescription. This price reflects a 649.94% markup. Ezetimibe-simvastatin

is widely available at retail pharmacies, including ShopRite, Rite Aid, Costco, Wegmans,

Walgreens, Duane Reade, and others. The cash price (i.e., the price a person would pay if they

did not use insurance) for an ezetimibe-simvastatin prescription at every one of these pharmacies

is lower than the price Defendants accepted for the Plan and its participants/beneficiaries. While

Defendants accepted a price of $242.98 for each 90-unit ezetimibe-simvastatin prescription, the

same prescription is available from ShopRite for $41.11, Rite Aid for $59.24, Wegmans for



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$60.70, Costco for $62.46, or from Cost Plus Drugs online pharmacy for $14.49. No prudent

fiduciary would agree and/or allow for its plan and participants/beneficiaries to pay a price that is

up to sixteen times higher than the price at which the drug is widely available.

       118.    Venlafaxine is a generic drug used to treat depression and anxiety. According to

the NADAC database, the average acquisition cost for pharmacies for venlafaxine is $0.14 per

100mg tablet, or $37.80 for a 270-unit prescription. Defendants, however, agreed and/or allowed

for the Plan and its participants/beneficiaries to pay Caremark $219.16 for each 270-unit

venlafaxine prescription. This price reflects a 479.79% markup. Venlafaxine is widely available

at retail pharmacies, including ShopRite, Rite Aid, Costco, Wegmans, Walgreens, Duane Reade,

and others. The cash price (i.e., the price a person would pay if they did not use insurance) for a

venlafaxine prescription at every one of these pharmacies is lower than the price Defendants

accepted for the Plan and its participants/beneficiaries. While Defendants accepted to a price of

$219.16 for each 270-unit venlafaxine prescription, the same prescription is available from

ShopRite for $32.40, Rite Aid for $38.54, Wegmans for $32.40, Costco for $53.46, or from Cost

Plus Drugs online pharmacy for $27.27. No prudent fiduciary would agree and/or allow for its

plan and participants/beneficiaries to pay a price that is up to eight times higher than the price at

which the drug is widely available.

       119.    Entecavir is a generic drug used to treat liver infection. According to the NADAC

database, the average acquisition cost for pharmacies for entecavir is $0.33 per 1mg tablet, or $9.90

for a 30-unit prescription. Defendants, however, agreed and/or allowed for the Plan and its

participants/beneficiaries to pay Caremark $749.30 for each 30-unit entecavir prescription. This

price reflects a 7,468.69% markup. Entecavir is widely available at retail pharmacies, including

Rite Aid, Wegmans, Costco, CVS, Shoprite, Walgreens, Target, and other pharmacies. The cash



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price for an entecavir prescription at every one of these pharmacies is lower than the price

Defendants accepted for the Plan and its participants/beneficiaries. While Defendants accepted a

price of $749.30 for each 30-unit entecavir prescription, the same prescription is available from

Rite Aid for $24.72, Wegmans for $25.75, Costco for $37.94, CVS for $21.80, or from Cost Plus

Drugs online pharmacy for $37.13. No prudent fiduciary would agree and/or allow for its plan

and participants/beneficiaries to pay a price that is up to almost sixty times higher than the price

at which the drug is widely available.

       120.    Cinacalcet is a generic medication used to treat certain types of chronic kidney

disease. According to the NADAC database, the average acquisition cost for pharmacies for

cinacalcet is $0.85 per 90mg tablet, or $25.50 for a standard 30-unit prescription. Defendants,

however, agreed and/or allowed for the Plan and its participants/beneficiaries pay Caremark

$1,310.99 for each 30-unit cinacalcet prescription. This price reflects a 5,041.14% markup.

Cinacalcet is widely available at retail pharmacies, including CVS, ShopRite, Rite Aid, Costco,

Wegmans, Walgreens, Target, and other pharmacies. The cash price for a cinacalcet prescription

at every one of these pharmacies is lower than the price Defendants accepted for the Plan and its

participants/beneficiaries. While Defendants accepted a price of $1,310.99 for each 30-unit

imatinib prescription, the same prescription is available from CVS for $15.59, ShopRite for

$17.50, Rite Aid for $9.88, or from Cost Plus Drugs online pharmacy for $17.51. No prudent

fiduciary would agree and/or allow for its plan and participants/beneficiaries to pay a price that is

one-hundred thirty times higher or more than the price at which the drug is widely available.

       121.    The Plan’s prices for the 38 generic drugs covered by JPMorgan for which CMS

does not publish a NADAC (i.e., those not included in the 211.11% markup calculation above) are

just as unreasonable. While NADAC information showing average pharmacy acquisition costs is



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not available as a benchmark, many of those drugs are available at retail or online pharmacies for

prices   far lower     than   Defendants     agreed and/or      allowed    for    the   Plan and     its

participants/beneficiaries to pay, indicating that the acquisition costs are far lower as well, and that

Defendants accepted unreasonable markups for those drugs. Four examples follow:

         122.   A 30-day supply of bexarotene gel (generic for Targretin) is available for a cash

price (i.e., without using insurance) of $3,750 at Rite Aid, $8,316 at Wegmans, and $7,256 at

Walgreens. Defendants agreed and/or allowed for the Plan and its participants/beneficiaries to pay

$16,594.75. To repeat: if a beneficiary of the Plan fills a prescription for bexarotene gel at Rite

Aid and does not use their insurance, Rite Aid will charge only $3,750. But if that same

beneficiary fills the exact same prescription at the exact same Rite Aid and uses their JPMorgan

health insurance, Defendants agreed and/or allowed to make them and the Plan pay a combined

$16,594.75.

         123.   A 30-day prescription of efavirenz-lamivudine-tenofovir (generic for Symfi) is

available for a cash price of $212.03 at Rite Aid, $400.71 at CVS, $385.62 at Walgreens, $437.47

at ShopRite, and $950.97 at Cost Plus Drugs. Defendants agreed and/or allowed to make the Plan

and its participants/beneficiaries pay $1,449.76.

         124.   A 120 unit supply of lapatinib (generic for Tykerb) is available for a cash price of

$1,810 at ShopRite, $1,590 at Walgreens, $1,453 at Rite Aid, and $1,590 at Duane Reade.

Defendants agreed and/or allowed to make the Plan and its participants/beneficiaries pay

$6,062.43.

         125.   A 60-tablet prescription of sorafenib (generic for Nexavar) is available for a cash

price of $2,610 at Rite Aid, $2,779 at Walgreens, $3,257 at ShopRite, $2,779 at Duane Reade, and




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cost and industry-standard rebates for those drugs. These prices are consistent with market pricing,

and do not reflect special discounts that would offset or justify the atypical and extraordinary

overcharges for generic drugs under the Plan. Defendants’ failure to act prudently in negotiating

the prices of generic drugs has cost the Plan and its participants/beneficiaries millions of dollars

each year, which has not been offset by any corresponding discounts on other drugs.

               2.      Defendants Imprudently Agreed to Steer Participants/Beneficiaries
                       Toward A Higher-Priced Drug Manufactured By Their PBM.

       129.    Caremark, the Plan’s PBM, is vertically integrated with Cordavis, which works

with manufactures to jointly develop biosimilar drugs. Defendants agreed to require Plan

beneficiaries/participants to purchase one such drug from Cordavis, even though equivalent lower-

cost options are available.

       130.    The prescription drug Humira is an immunosuppressive used to treat rheumatoid

arthritis and other inflammatory conditions. Humira is a “biologic,” which means that it is derived

from living organisms. Because Humira is no longer patent-protected, several companies now

manufacture Humira “biosimilars.” A biosimilar is roughly equivalent to generic versions of a

standard, non-biologic drug. There are currently 10 FDA-approved Humira biosimilars.

       131.    Defendants agreed and/or allowed to make only one Humira biosimilar available

under the Plan. That biosimilar is Hyrimoz, which is manufactured by Cordavis—which, again,

is vertically integrated with Caremark. Defendants agreed and/or allowed to make only Hyrimoz

available under the Plan even though it is significantly more expensive than other biosimilars.

       132.    Defendants     agreed    and/or      allowed   to   make     the   Plan    and     its

participants/beneficiaries pay $1,257.88 for a 28-day supply of Hyrimoz:




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       133.   Other Humira biosimilars are available for far less money, but Defendants chose to

exclude them from the Plan’s formularies. For example, a 28-day supply of the Humira biosimilar

Yusimry is available from Cost Plus Drugs for a total price of $584.25—less than half the price

that Defendants agreed and/or allowed to pay for Hyrimoz. Likewise, a 28-day supply of the

Humira biosimilar adalimumab-adbm is widely available for $550.




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       134.    Even though these biosimilars are substantially cheaper than Hyrimoz and

medically equivalent to Hyrimoz, they are not available under the Plan.




       135.    No prudent fiduciary would allow (much less force) plan participants/beneficiaries

to purchase the most expensive biosimilar version of a drug. A prudently-administered plan would

steer beneficiaries toward the option with the lowest overall price, or at least would not make the

only option the one that is most expensive and manufactured by a company that is vertically

integrated with the Plan’s PBM. Defendants’ imprudent decision to favor its PBM’s higher-priced

product over better-priced equivalents has increased overall spending by the Plan, thereby leading

to increased premiums for all participants/beneficiaries, and also resulted in higher out-of-pocket

costs for participants/beneficiaries.

               3.      Defendants Failed to Implement Cost-Saving Recommendations from
                       Organizations of Which JPMorgan is a Member.

       136.    JPMorgan is a member of the Purchaser Business Group on Health (“PBGH”),

which describes itself as “a purchaser-only coalition of the country’s largest and most influential

private employers and public purchasers working to create the health care system they are proud

to offer American workers and their families.” Among other things, PBGH shares with its

members strategies for reducing spending on employee healthcare benefits, including prescription-

drug coverage. PBGH claims that it has “helped large employers save millions of dollars on

pharmaceutical spending.”


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       137.    Many of PBGH’s recommendations to its members, including JPMorgan, are the

exact things detailed above that JPMorgan did not do.

       138.    For example, PBGH warns against using traditional PBMs, explaining that

“traditional PBMs have adopted opaque and deceptive business practices that enable them to

capture revenue from multiple sources, often increasing the benefit cost,” and that traditional

PBMs “have proliferated due to misleading contracting practices, unscrupulous operating

practices, limited audit rights, nontransparent financial alignment with pharmacy benefit

consultants and by leveraging status quo bias.” PBGH notes that in contrast, “many of the newer

‘next gen’ PBMs are committed to principled business practices that could be more cost effective

and result in better clinical outcomes.” Despite this recommendation, Defendants continue to use

Caremark, one of the traditional PBMs that PBGH expressly cautioned against.

       139.    PBGH also warns against the use of AWP as a benchmark for drug prices. PBGH

states that “one means used by PBMs to manipulate purchasers’ perception of their performance

is the use of Average Wholesale Prices (AWP). Despite the name, these are not wholesale prices

and particularly in the case of generic drugs, bear absolutely no rational relationship to wholesale

or retail prices.” PBGH explains that “purchasers should be weary [sic] of the arbitrary and

exploitable nature of the AWP benchmark.” PBGH encourages its members to “examine

alternative pricing benchmark approaches,” including by using NADAC. Despite this

recommendation, Defendants continue to pay for prescription drugs based on AWP.

       140.    PBGH warns against spread pricing, identifying it as one of two “primary avenues

for profiteering by PBMs.” PBGH advises its members to prohibit spread pricing in their PBM

contracts, and provides the following recommended contract language: “There will be no variation

between the amount paid to the pharmacy and the amount reimbursed by the plan sponsor.” PBGH



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also provides the following recommended contract language: “Reimbursement to pharmacies will

be equal to the amount billed to the client. There will be no ‘Spread Pricing’ at any pharmacy.”

Despite this recommendation, Defendants continue to allow Caremark to utilize spread pricing.

       141.    PBGH warns against allowing a PBM to self-preference its own biosimilars

regardless of cost. PBGH recommends that its plan sponsor members, including JPMorgan, use

the following contract language: “In the case that multiple versions of the same Generic or

Biosmilar is available for a Brand or reference product, the least expensive Biosimilar will be

placed in a lower cost sharing tier.” Despite this recommendation, Defendants continue to cover

only Hyrimoz, instead of lower-cost alternatives manufactured by companies that are not vertically

integrated with Caremark.

       142.    PBGH also recommends that members “remove waste from drug formularies and

achieve savings.” PBGH explains that “[t]he revenue model where Pharmacy Benefit Managers

(PBMs) keep a portion of the spread, rebate, or other fees paid by drug manufacturers creates a

financial incentive for PBMs to prefer or allow drugs with high prices and large rebates or large

spreads, which often results in having wasteful drugs on the formulary.” PBGH states that “all plan

sponsors should check if their drug formularies contain wasteful drugs.” Defendants did not follow

these recommendations. For example, PBGH identifies the brand name drug Vimovo as a wasteful

drug and recommends that plans remove it from the formulary and cover only the generic.

Defendants, however, do the opposite—the Plan covers only Vimovo (at $459.36 for a 30-day

supply) and not the generic (which, according to PBGH, would cost $22.80).

       143.    JPMorgan is also a member of the Health Transformation Alliance (“HTA”), which

claims that it has “developed value-driven solutions in data and analytics, pharmacy, medical, and

consumer engagement specifically designed to improve patient care and lower costs.” Among



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other things, HTA shares with its members strategies for reducing spending on employee

healthcare benefits, including prescription-drug coverage. According to HTA, its “highly engaged

member companies, who fully utilize [HTA’s] services, typically spend 15% less on healthcare

than the rest of the market.”

       144.    One of HTA’s “solutions” for employers is to carve out “specialty” drugs from their

main PBM contract and to instead contract with a separate PBM for those drugs. HTA’s website

touts that “HTA Members who Carve Out Specialty Drugs from PBM Arrangement Reduce

Specialty Spend ~47%.” The following table from HTA’s website (“PMPM” stands for “per-

member, per-month”) shows that HTA’s members who carve out specialty drugs from their main

PBM contract save 47.2% on specialty drugs and 39.8% across their entire prescription drug plan.




       145.    Despite the recommendation from HTA, Defendants did not carve out specialty

drugs from the Plan’s PBM contract with Caremark.

       146.    According to HTA, following this one recommendation would save the Plan and

its participants/beneficiaries 39.8% on prescription drugs. For a company the size of JPMorgan,

with approximately 150,000 Plan participants each year, the numbers in the above table suggest
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that Defendants could have saved the Plan and its participants/beneficiaries over $60 million per

year simply by following HTA’s recommendation about specialty carve-out.

               4.     Defendants Acted Disloyally by Prioritizing JPMorgan’s Banking
                      Business Over Plan Interests.

       147.    Defendants    knew     they   could     reduce   costs   for   the   Plan   and   its

participants/beneficiaries by replacing the Plan’s PBM and implementing various healthcare cost-

reduction measures. However, after initially pursuing these cost-savings initiatives through Haven

Healthcare, Defendants abandoned these efforts under pressure from CVS and other banking

clients, subordinating the Plan’s interests to JPMorgan’s business relationships.

       148.    JPMorgan CEO Jamie Dimon demonstrated his awareness of potential Plan saving

opportunities by spearheading the formation of Haven Healthcare, a joint venture with Amazon

and Berkshire Hathaway that officially launched on January 30, 2018. Haven Healthcare was

explicitly aimed at improving the Plan and reducing JPMorgan’s employee healthcare costs.

Dimon stated that the goal of the venture was “to create solutions that benefit our U.S. employees,

their families and, potentially, all Americans.” Contemporaneous reporting likewise stated that the

venture “aims to overhaul health care for the three companies’ legions of employees” and Haven’s

COO Jack Stoddard testified that the venture was “likely to significantly overhaul benefit design.”

       149.    Haven Healthcare focused on both pharmacy benefits and medical benefits more

broadly. An internal document from December 2017 stated that prior efforts to reduce health care

costs didn’t work “because they conceded the existence and role of intermediaries like PBMs,

insurance administrators, wholesale distributors and pharmacies, which have a vested interest in

maintaining the status quo.” The same document proposed that JPMorgan manage pharmacy

benefits in house instead of using a PBM. Dimon accordingly noted in an interview that the venture

was analyzing the company’s PBM arrangements, among other work.


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       150.    The announcement of Haven Healthcare on January 30, 2018 triggered an

immediate decline in stock prices for PBMs and insurers such as Express Scripts (8.8%), CVS

(5.6%), Anthem (5%), and Cigna (6%).

       151.    In the days after Haven Healthcare’s launch, JPMorgan received complaints from

healthcare companies “worried that it could cut into their business,” according to reporting at the

time. In an interview, Dimon explained that “quite a few” healthcare companies that JPMorgan

does business with were “pissed off” by the new venture. Dimon said he spoke with many of the

healthcare companies who saw stock price drops after the announcement. The Wall Street Journal

reported that “JPMorgan Chief Executive James Dimon got involved personally, speaking with

some health-care executives to allay fears that the bank would become their rival.” On information

and belief, that included conversations between Dimon and PBMs, including Caremark and/or

CVS. JPMorgan’s healthcare bankers and merger and acquisition advisors also received calls from

clients “concerned and confused” about the new venture’s impact. At least two of the five largest

insurers voiced concerns to JPMorgan following the announcement. Reporters noted that

JPMorgan “is eager to avoid even a small disruption to its health-care investment-banking

franchise, a powerhouse on Wall Street.”

       152.    CVS Chairman Dave Dorman discussed the venture in a February 9, 2018

interview: “Jamie Dimon is a tough guy. He’s looking at his costs going up 10% a year as a big

part of his overall employee cost and says, ‘What can we do about it?’ […] The fact is, the doctor

on Main Street isn’t controlled by them, isn’t managed by them, their employees have to make

individual good decisions that will lead to their health. So, good luck. I think it’s a very deep pool.

We supply JPMorgan PBM benefits today. I suspect that we’ll see a lot of things churning here.”

On information and belief, Dorman’s comments about Dimon were based on their direct



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interactions regarding Haven Healthcare and JPMorgan’s employee drug and health benefits in the

prior weeks.

       153.    In a CVS company meeting on February 12, 2018, CVS’s then-CEO Larry Merlo

discussed CVS’s pending merger with Aetna in relation to the recent announcement of Haven

Healthcare. Merlo explained that the announcement “turned the healthcare industry upside down

because three companies that are tremendously well-respected with terrific leaders said they want

to form a new company that’s going to reduce healthcare costs.”

       154.    Amid this industry backlash, including from JPMorgan clients, Haven Healthcare

abandoned its goal of replacing PBMs. On information and belief, this happened shortly after

Dimon and Dorman discussed JPMorgan’s employee drug benefits.

       155.    In January 2021, Heaven Healthcare was formally disbanded following push back

for self-serving business reasons. As an actuary involved in the project explained: “Unfortunately

all the constituencies within the various firms sort of raised their heads saying wait a minute, we’re

investing for all these mainstream healthcare providers. We don’t want to make them mad. A lot

of noise on the financial aisles of these firms eroded the momentum from the get go of what we

could do.” On information and belief, this “noise” included the conversations Dimon had with

leading insurers and PBMs.

       156.    JPMorgan’s abandonment of Haven Healthcare, along with Haven Healthcare’s

ineffectiveness while it existed, resulted in large part from Jamie Dimon’s and Defendants’

prioritization of JPMorgan’s business relationships and interests over fiduciary duties to the Plan

and its participants and beneficiaries. Had Defendants not breached their duty of loyalty, Plaintiffs

would have saved money on their medical and prescription drug benefits through lower premiums,

lower out-of-pocket costs, and higher quality of services.



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       157.    In May 2021, JPMorgan announced the formation of Morgan Health. In stark

contrast to Haven Healthcare, Morgan Health reflects JPMorgan’s capitulation to industry

interests. Morgan Health, while again personally spearheaded by CEO Jamie Dimon, emerged

largely as an investment vehicle that plans to “invest $250 million of JPMorgan Chase & Co.

capital in promising health care companies.” Unlike Haven Healthcare’s reform mission, Morgan

Health has not attempted to improve the Plan’s prescription-drug benefits or move away from

Caremark. Unlike the announcement of Haven Healthcare, which caused the stock of healthcare

companies like CVS to plummet, JPMorgan’s announcement of Morgan Health featured industry

support. CVS CEO Karen Lynch was quoted in JPMorgan’s press release saying: “We are looking

forward to working with Morgan Health. We have a long-standing relationship with JPMorgan

Chase and will continue to collaborate to make healthcare better for all employers.” Morgan

Health CEO Dan Mendelson described CVS as a partner with whom his team has “great

relationships.” Dan Mendelson, the CEO of Morgan Health, joined immediately after running his

own healthcare consulting firm where CVS was a client. In 2017, Mendelson publicly praised the

merger of CVS and Aetna despite consumer advocates and antitrust experts warning that the

merger would result in higher prescription drug prices. A Morgan Health Executive Director

previously worked at CVS managing communications for Caremark.

               5.      Defendants Succumbed to Conflicts of Interest

       158.    In failing to take prudent and appropriate measures to monitor the Plan’s PBM and

minimize costs for prescription drugs, Defendants disloyally placed JPMorgan’s business interests

ahead of the interests of the Plan and its participants, and succumbed to those conflicts of interest.

       159.    JPMorgan is one of the largest and most sophisticated financial services companies

in the world, and is a key player in the global pharmaceutical market.



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       160.    The pharmaceutical industry is a major source of investment banking revenue for

JPMorgan.     JPMorgan advises and manages the largest pharmaceutical industry mergers,

acquisitions, and transactions each year. In 2024, JPMorgan collected nearly $3 billion in fees

from M&A transactions. While JPMorgan’s earnings on many deals are undisclosed, the firm

boasts that is the global leader in investment banking fees.

       161.    In 2019, JPMorgan’s $123 million fee on pharmaceutical group AbbVie’s

acquisition of Allergan was the largest ever disclosed fee to a bank for advising an acquisition (in

any industry). Financial Times reported that JPMorgan’s record fees “shine a light on the lucrative

work of bankers who spend years building relationships with companies to cash in on big

takeovers.”

       162.    In 2024, JPMorgan advised Novo Nordisk’s $16.5 billion acquisition of drugmaker

Catalent—the largest pharmaceutical industry deal of the year—and received a fee of

approximately $58 million.

       163.    In 2023, JPMorgan had a lead role in Pfizer’s $31 billion acquisition of drugmaker

Seagen, the industry’s largest deal of the year. That year JPMorgan also advised Johnson &

Johnson’s $42 billion spinoff of its consumer health unit Kenvue, AbbVie’s $10.1B acquisition of

ImmunoGen, and Roche’s $2.7B acquisition of Carmot Therapeutics.

       164.    In 2022, JPMorgan advised Horizon Therapeutics’ merger with Amgen, the largest

healthcare merger of the year, worth $27.8 billion. JPMorgan also advised Johnson & Johnson’s

$16.6 billion acquisition of Abiomed.

       165.    JPMorgan has been paid to advise, manage, and finance significant transactions for

CVS, Caremark and Aetna. JPMorgan participated in the financing of CVS’s $69 billion merger

with Aetna in 2018, acting as a Bridge Commitment Party. JPMorgan also acted as an Underwriter



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and Bookrunning Manager for CVS’s nearly $40 billion bond sale in March 2018. In 2020,

JPMorgan served as Dealer Manager for CVS’s $6 billion bond buyback. Between 2019 and 2024,

JPMorgan acted as an Underwriter for CVS on at least five bond sales worth a combined $17.5

billion. In 2015, JPMorgan arranged a $2 billion stock buyback for CVS. Between 2011 and 2017,

JPMorgan acted as a Syndication Agent for at least four multi-year credit agreements for CVS.

JPMorgan acted as Administrative Agent, Joint Lead Arranger, and Bookrunner for a five-year

credit agreement with Aetna starting in 2012, and as an underwriter for a $1 billion bond deal in

2017.

        166.   In 2006 and 2007, JPMorgan served as a financial advisor to the Caremark Board

of Directors as it considered potential mergers with both CVS and with Express Scripts; with the

advice of JPMorgan, Caremark opted to be acquired by CVS for $21 billion in what was “by far”

CVS’s largest transaction to date. The exact fee JPMorgan received was not disclosed, but

Caremark reported JPMorgan was paid “customary fees for their financial advisory services in

connection with the merger, portions of which were payable in connection with their opinions and

significant portions of which are contingent upon the completion of the merger.”

        167.   JPMorgan hosts the largest annual healthcare industry conference, which the

company has described as “the birthplace of deals.” The 2025 JPMorgan Healthcare Conference

drew roughly 8,000 attendees, featured presentations from more than 500 companies, and was

expected to generate over $90 million in economic activity for the host city of San Francisco. The

conference routinely features speakers from the PBM industry, including CVS. In 2023 and 2024,

CVS CEO Karen Lynch spoke at the JPMorgan Healthcare Conference about its pharmacy benefit

management business.




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       168.    JPMorgan also generates revenue from pharmaceutical industry clients through

services such as commercial lending, equity and debt underwriting, cash flow management, market

research, investment management, and international asset exchange.

       169.    Defendants did not act with an eye single to the Plan and its participants and

beneficiaries, but instead had these business and financial interests in mind at all times, in

connection with their actions (and failures to act) set forth herein.

       B.      Defendants’ Fiduciary Processes Were Fundamentally Flawed

       170.    Defendants failed to engage in a loyal, prudent, and reasoned decision-making

process focused exclusively on the interests of the Plan and its participants/beneficiaries before

agreeing to a PBM contract (and extending/renewing a contract) that requires the Plan and its

participants/beneficiaries to pay Caremark the above-described prices. Prudent and loyal plan

fiduciaries would have taken readily available steps to reduce the Plan’s costs, which Defendants

failed to take. Because of the extraordinarily high prices to which Defendants agreed, the Plan

paid substantially more for prescription drugs than it would have paid absent the conduct described

herein. Likewise, participants and beneficiaries of the Plan paid more in premiums and out-of-

pocket costs than they would have paid absent the conduct described herein.

       171.    First, even setting aside whether prudent and loyal fiduciaries would have

contracted with Caremark for all of their prescription-drug benefits, Defendants failed to

adequately negotiate (or re-negotiate) the Plan’s contract with Caremark and failed to prudently

exercise their rights under that contract. As a Fortune 50 employer with tens of thousands of

employees, JPMorgan has substantial bargaining power with vendors, including PBMs. Prudent

fiduciaries would have—and other similarly sized companies’ plan fiduciaries have—used that

bargaining power to demand and obtain substantially better contractual terms, including terms

relating to prices and the way in which prices are determined. Defendants could have taken these
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steps and obtained savings while retaining their prescription-drug plan’s essential features and

level of PBM services.

       172.    For example, prudent fiduciaries would have—and Defendants could have—

ensured that the Plan’s prices for generic drugs are set forth in a fixed unit-cost schedule or

NADAC-based price instead of with reference to AWP. By taking this one step, Defendants would

have reduced their spending on generic drugs by 30% or more. Fiduciaries of comparable plans

have done exactly that in their negotiations with Caremark and have reduced their prescription-

drug spending by 30% or more as a result. This option was available to Defendants and would

have saved the Plan and its participants/beneficiaries millions of dollars across the prescription-

drug program as a whole. Put another way, Defendants’ fiduciary breaches caused the Plan and

its participants/beneficiaries to overpay by millions of dollars each year on prescription-drug costs

compared to available alternatives.

       173.    Prudent fiduciaries also would have—and Defendants could have—ensured that

generic specialty drugs are priced as generic drugs and not placed in the specialty drug category

with branded specialty drugs. Prudent fiduciaries also would have—and Defendants could have—

more closely supervised Caremark’s formulary management and more effectively exercised their

own rights to make decisions about formulary inclusion and placement.              Had Defendants

adequately negotiated with Caremark and exercised their rights under the Plan’s contracts, the Plan

and its participants/beneficiaries would have saved millions of dollars.

       174.    Second, Defendants failed to adequately consider contracting with a different PBM

for all of the Plan’s prescription-drug needs. Fiduciaries of similar plans across the country have

conducted comprehensive plan reviews and concluded that their plans’ interests were best served

by switching from a traditional PBM to a pass-through PBM. This option was equally available



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to Defendants. Given the extremely high prices that Defendants agreed to pay, the Plan and its

participants/beneficiaries would have been better served by switching from a traditional PBM to a

pass-through PBM, and those benefits would have been clear at the time of contracting.

Defendants failed to adequately solicit bids from pass-through PBMs, or alternatively, did solicit

such bids but failed to act in the best interests of the Plan and its beneficiaries when choosing

among competing bids. A prudent process would have made clear that the Plan would save a

substantial amount of money by contracting with one or more pass-through PBMs instead of

entering into and continuing its contract with Caremark, without meaningfully (or at all) sacrificing

availability of drugs, scope of pharmacy network, quality of service, convenience, or any other

factor related to plan features or services. Had Defendants adequately considered alternative

PBMs and made the prudent choice, the Plan and its participants/beneficiaries would have saved

millions of dollars.

       175.    SmithRx is a pass-through PBM that services a wide range of employer healthcare

plans. SmithRx is capable of providing a high level of service comparable or superior to that

provided by Caremark, and it currently services multiple clients who formerly used Caremark as

their PBM. Defendants could have, but did not, include SmithRx in their procurement process. If

Defendants had contracted with SmithRx instead of agreeing to contract with Caremark,

Defendants would have saved the Plan and its participants/beneficiaries substantial amounts of

money while retaining the prescription-drug plan’s efficacy and level of PBM services.

       176.    Comparable savings were available to Defendants by contracting with other pass-

through PBMs as well. For example, Navitus is a pass-through PBM that services hundreds of

healthcare plans covering over 14 million lives. It is capable of providing a high level of service

comparable or superior to that provided by Caremark. For 2022, Navitus’s commercial clients paid



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an average of $89.73 in net total costs per-member, per-month. On information and belief, the Plan

in 2022 paid substantially more in net total costs per-member, per-month under the terms of the

contract Defendants negotiated with Caremark.

           177.   As another example, Capital Rx is a pass-through PBM that services a wide range

of healthcare plans covering over 3 million lives. It is capable of providing a high level of service

comparable or superior to that provided by Caremark. Instead of engaging in spread pricing and

rebate retention, it bases its prices on NADAC and charges its clients only a flat administrative

fee. Capital Rx’s clients pay far less than Caremark for the same goods and services. Put another

way, Defendants’ fiduciary breaches caused the Plan and its participants/beneficiaries to overpay

by millions of dollars each year on prescription-drug costs compared to available alternatives.

           178.   Third, Defendants failed to adequately consider carving out their specialty-drug

program from their broader contract with Caremark. As described herein, fiduciaries of similar

plans across the country have conducted comprehensive plan reviews and concluded that their

plans’ interests were best served by carving out specialty pharmacy benefits from their overall

PBM contract. This option was equally available to Defendants. A prudent and loyal process

would have revealed that the Plan would save money by carving out the specialty-drug program

from the Plan’s contract with Caremark. Had Defendants adequately considered this option and

made the prudent choice, the Plan and its participants/beneficiaries would have saved millions of

dollars.

           C.     An Attentive Fiduciary Would Have Recognized and Avoided the Flaws in
                  Defendants’ Approach

                  1.     Published Warnings and Guidance

           179.   Prominent media outlets, industry publications, governmental entities, and research

organizations have long reported on the PBM tactics and conflicts of interest detailed above, and


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have warned plan administrators about the financial harms that result when they fail to act

prudently and instead allow PBMs to enrich themselves at the expense of plans and their

participants/beneficiaries. Prudent fiduciaries would heed this advice—and many prominent

companies’ fiduciaries have heeded this advice—by taking steps to protect their plans from these

widely-reported tactics. Defendants knew or should have known that their PBM contracts

unreasonably failed to heed these warnings and failed to protect the Plan and its

participants/beneficiaries from these widely reported tactics, despite having ample bargaining

power.    Defendants’ failure to act prudently and their decision to enter into unreasonable

arrangements with their PBM cost the Plan and its participants/beneficiaries millions of dollars

during the class period.

         180.   As early as 2010, the International Foundation of Employee Benefit Plan was

reporting on the ways in which PBMs use specialty drugs to extract profits from plans. One notable

article written by a PBM expert warned that “most PBMs increase their profit margins by buying

specialty drugs at low prices and selling them at far higher prices, rather than using their

marketplace leverage to decrease their clients’ costs.” The article advised plans to “require your

PBM to provide pass-through pricing for every specialty drug dispensed” and to “invoice your

plan based on the PBM’s actual acquisition cost.” The article also recommended that plans “can—

and should—position [themselves] contractually to carve out specialty drugs after the contract

begins, ensuring that you can consistently obtain the best minimum guaranteed discount available,

throughout the life of the contract.” The article advised plans that they should “make sure to

eliminate … exclusivity provisions and replace them with provisions that allow you to carve out

specified services, including the provision of some or all specialty drugs, and the right to negotiate

contracts with alternative specialty drug pharmacies.”



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       181.      A 2013 article in Fortune Magazine reported that traditional PBMs “effectively pad

bills by $8 to $10 a prescription” and, quoting a consultant who had audited more than 100 PBM

contracts, that “[t]he nation’s employers are being taken for a ride” by traditional PBMs.

       182.      A 2017 article reported that “[c]ontrolling the formulary gives PBMs a crucial point

of leverage over the system” and warned that “PBMs place drugs on their formularies based on

how high a rebate they obtain, rather than the lowest cost or what is most effective for the patient.”

The same article warned that “[t]he MAC list that goes to the pharmacy does not necessarily match

the one for the health plan. By charging the plan sponsor more than they pay the pharmacy in a

reimbursement, PBMs can make anywhere from $5 to $200 per prescription.”

       183.      A 2017 article from Bloomberg titled “Drug Costs Too High? Fire the Middleman”

reported that PBMs “keep about 10 percent of the rebates from manufacturers vying to get their

medicines covered; they sometimes charge health-plan clients more for generics than they

reimburse the pharmacies dispensing them; and they channel clients to their own specialty or mail-

order pharmacies.” The article recounted numerous success stories of companies that had moved

away from the traditional PBM model and delivered millions of dollars in savings to their plans

and their employees.

       184.      A 2018 article from Axios reported that PBM contracts are often “written with the

PBM’s financial interests in mind” and that “those kinds of provisions can result in lost savings

for everyone, especially for small companies and their employees.” The article warned that

“[e]ven some of the largest companies think they are protected because they have in-house and

outside attorneys vetting contracts, yet that’s not necessarily the case.” The article warns that “a

major tactic to maximize profits” by PBMs is controlling how different drugs are designated on

the formulary.



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       185.     A 2018 article from Axios quoted a prominent consultant who warned that “One of

the key components of the system is that transition of brand-name drug to generic drug … [a]nd if

you would allow a PBM or any third-party vendor to over-inflate that amount ... you are being set

up to lose every time.”

       186.     A 2018 report by drug price nonprofit 46Brooklyn Research detailed PBMs’ use of

spread pricing to reap massive profits, at the expense of payers, on generic imatinib mesylate. As

that report explained, payers who agree to pay prices that are determined independently of what

PBMs pay to pharmacies “lose all visibility into what their underlying drugs actually cost, handing

the keys over to the PBM,” while “the PBM can effectively just sit back as generic prices plummet,

knowing that it is under no requirement whatsoever to pass the full extent of those savings back”

to the payer.

       187.     An extensive probe by the Columbus Dispatch, reporting on which began in 2018,

revealed “that CVS Caremark routinely billed the state [of Ohio] for drugs at a far higher amount

than it paid pharmacies to fill the prescriptions,” retaining “tens of millions of dollars” in spread

pricing. Among many other things, the Dispatch reported that the traditional PBM “system has a

built-in incentive for CVS Caremark and other PBMs to maximize the price spreads: They get to

keep the money” and that “the largest spreads occurred among generic drugs.” The Dispatch’s

reporting was picked up and widely reported by national outlets.

       188.     A 2018 USA Today article about PBMs quoted a prominent consultant describing

a supposedly new pricing model by CVS Caremark as follows: “CVS Caremark is using different

language only to make it appear that it is being more transparent. And the new pricing approach

also doesn’t eliminate rebates on brand-name drugs or spread pricing. When negotiating contracts

with manufacturers, CVS Caremark can label manufacturers’ payments with whatever labels



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Caremark wants: rebates, manufacturer fees, health management fees, etc. Therefore, the question

is what percentage of total manufacturer payments Caremark passes through.”

       189.    A 2019 article quoted a prominent consultant who identified “[a] lack of clear

definitions of types of drugs” as an important issue, and explained that “PBMs often play with the

definitions of [specialty] drugs in ways that promote the health of their own bottom line.” The

consultant advised that a payer “should make its own list of specialty drugs” and “set minimum

guaranteed discounts off public prices for each.” The same consultant stated: “If you write a better

contract, you can eliminate a lot of this stuff.”

       190.    A 2020 report commissioned by The Florida Pharmacy Association and American

Pharmacy Cooperative, Inc. warned that “as more brand name specialty drugs … lose patent

exclusivity in the coming years, there is growing risk that the extreme pricing manipulation and

steering we have identified on imatinib mesylate could become more commonplace,” and

recommended moving “to an acquisition cost-based model to mitigate the risk of a dramatic rise

in price exploitation on specialty generic drugs.”

       191.    A 2020 report on pharmacy benefits advised that traditional PBMs have

“misaligned incentives which can lead to price increases without providing equivalent value for

the purchasers of benefits” and advised that “Employers need to: • Think differently about how to

manage the pharmacy benefit. • Take action on addressing waste, low-value drugs and excess costs

often caused by PBMs and other pharmacy benefit middlemen. • Make ethical and logical

decisions over what a drug is worth and the employer’s ability to pay – as plan sponsor and

fiduciary, it’s critical that dollars are used efficiently for plan beneficiaries. • Focus on innovative

approaches to specialty drug management.”




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       192.    A 2021 report prepared by the House Committee on Oversight and Reform

Minority Staff warned that “PBMs engage in a number of questionable practices, one of which is

spread pricing, in which PBMs pay a pharmacy a lower amount than they report to a health plan

sponsor.” The report further stated that PBMs use their control of formularies to “drive patients

to more expensive drugs.”

       193.    A 2022 BenefitsPro article directed at human resources officers advised that “plan

sponsors have more power than they may realize when evaluating a PBM,” that “your PBM

contract must be free of any ambiguities regarding the PBM’s obligation to act in your best

interests at all times,” that plan fiduciaries should “prohibit the PBM from using any internal

‘proprietary’ algorithm that determines whether a drug will be priced as a brand or generic drug,”

that plan fiduciaries should “prohibit the MAC Game by requiring the PBM to use the same MAC

List to pay the pharmacy and to bill you for generic drugs,” that plan fiduciaries should “make it

clear that … the PBM must pass through and not retain any rebates” and “define the term ‘rebate’

to include any and all renumeration that the PBM receives from drug manufacturers based on your

plan’s utilization,” that plan fiduciaries should “require the PBM to … place drugs on your

formulary based on efficacy, safety and the true net cost of the drugs,” and that plan fiduciaries

should “audit your PBM to confirm that the PBM has delivered the contracted pricing and has

implemented your plan designs correctly.”

       194.    A February 2022 white paper on specialty drug management reported that “the

savings with Specialty PBM Carve-Out can be quite substantial, with savings ranging from

25-50%. Sources of savings go beyond the supply chain elements of rebates and drug discounts to

incorporate benefits of the clinical and coverage model, including a more cost-effective formulary,




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health economics-based coverage, more rigorous [prior authorization], and more robust copay

assistance programs.”

       195.     A 2022 white paper from the University of Southern California (USC) reported that

“U.S. consumers and employers and the government often overpay for generics as pharmacy

benefit managers (PBMs) and their affiliated insurer companies game opaque and arcane pricing

practices to pad profits.” The paper continues: “Commercial tactics such as spread pricing, copay

clawbacks and formularies that advantage branded drugs over less expensive generics have

funneled the savings from low-cost generics into intermediaries’ pockets, rather than the pockets

of patients.”

       196.     A 2023 report documented that PBMs regularly decline to replace expensive brand-

name drugs on formularies with newly released generics, stating that “PBMs are persistently

excluding generic competition from the market, resulting in higher prices and less choice for

patients and the healthcare system.” The report explained that “PBMs prefer the high-list price,

high-rebate drugs because they benefit from it.”

       197.     A 2023 guide to PBM contracting for employers identified “[t]he lack of unit cost

pricing for ALL generics” as the “most substantial cost excess seen in PBM contracting,” and

informed employers that “[a]n objective ($/unit) price for EVERY generic entity must be presented

in the proposal and integrated into the executed PBM contract.” The same guide warns that “[i]f

a plan sponsor (fiduciary) allows generics to be priced at AWP-X%, ALL cost modeling and

projections are not credible.”

       198.     A 2023 article reported on the “flow of money between major consulting

conglomerates and PBMs,” and quoted an industry attorney’s statement that “[t]he broker not only

gives bad advice to the employer that’s in the broker’s self-interest, but the broker also allows the



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big PBM to write crazy terms into a contract.” The article further warned employers that “PBMs

… favor brand-name drugs over generic equivalents, delay coverage of new generics and

biosimilars, mark up prices of generic drugs, and require employers to use the PBM’s mail-order

pharmacy,” all to “boost the PBM’s bottom line.”

       199.    The federal government has long recognized the cost savings that result from basing

prices on actual pharmacy acquisition costs rather than an AWP-based model. The United States

Office of Personnel Management (“OPM”), which manages the civil service of the federal

government, regularly issues guidelines and standards applicable to insurance carriers that provide

health care coverage to federal employees. Since at least 2011, those standards have required that

carriers’ contracts with PBMs “base Carrier costs on negotiated price with network pharmacies or

the actual acquisition cost for PBM-owned or affiliated pharmacies.” According to the latest

guidelines, carriers must ensure that the price of drugs filled by pharmacies not affiliated with the

PBM are based on the negotiated price in each pharmacy agreement plus a dispensing fee, without

spread pricing. Likewise, carriers must ensure that the price of drugs filled by PBM-owned or

affiliated pharmacies are based on the actual acquisition cost, plus a dispensing fee, without spread

pricing. PBMs must also disclose to carriers the MAC lists used for carriers’ pricing.

       200.    OPM also requires carriers to negotiate for full audit rights to all PBM network

pharmacy contracts, claims data, manufacturer payments (including all rebates, however

denominated), invoices, and clinical services coverage criteria. OPM further requires carries to

include in their PBM contracts terms related to having access to information at each claim and

aggregate level between PBMs and pharmacies (including PBMs and PBM-owned or affiliated

pharmacies).




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               2.     Defendants’ Own Business and Trade Experience

       201.    Defendants were also aware, from their own business and trade experience, of the

mischief in which PBMs like Caremark engage, and appropriate steps that can and should be taken

to avoid such mischief and reduce prescription drug costs.

       202.    As noted above, JPMorgan’s own industry trade groups, PBGH and HTA, issued

a number of pertinent warnings and/or recommendations. See supra at ¶¶ 136-46.

       203.    JPMorgan’s joint venture, Haven Healthcare, also highlighted the problems

associated with traditional PBMs and counseled against retaining them altogether. See supra at ¶

149.

       204.    Similarly, JPMorgan itself advises companies outside the pharmaceutical industry

on intelligence from the industry through market research, business consulting, and other client

services. JPMorgan has produced documents warning company benefits providers that “most

health care brokers are paid commissions by the health plans their clients select” and that

“[n]ew products may not offer your broker the same incentives as long-standing plans, so they

may be less likely to share them with you unless you request them explicitly.”

               3.     Practices of Other Plans

       205.    Throughout the class period, the fiduciaries of other prescription-drug plans

publicly took one or more of the steps detailed above and saved their plans and their beneficiaries

millions of dollars, with savings that far outweighed any costs (financial or otherwise) of

implementation. These options were equally available to Defendants, who could have retained

their prescription-drug plan’s features and level of PBM services while obtaining substantial

savings for the Plan (in the form of lower payments for prescription drugs) and their

participants/beneficiaries (in the form of lower premiums, lower our-of-pocket costs, lower

deductibles, lower coinsurance, lower copays, and higher wages or greater wage growth).

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       206.     The following examples are illustrative and taken from public reporting. Many

other companies have taken similar steps and achieved similar results.

       207.    Charter Communications is a telecommunications company that provides

prescription-drug benefits for approximately 175,000 employees and their dependents. Like

JPMorgan, Charter Communications uses Caremark as its PBM, but Charter Communications has

used its bargaining power to secure prices for generic drugs that are far lower than JPMorgan’s

prices. Across the 356 generic drugs described in paragraph 112 that are also available under the

Charter   Communications       plan,   Defendants       agreed   to   make   the   Plan   and    its

participants/beneficiaries pay, on average, 2.4 times as much as Charter Communications’ plan

and participants/beneficiaries pay for the same drugs. Put another way, a single prescription of

each of the 356 drugs would cost $49,317 for the Charter Communications plan and its

participants/beneficiaries, while a single prescription of each of the 356 drugs would cost $117,532

for the JPMorgan plan and its participants/beneficiaries.

       208.    Caterpillar Inc. is an equipment manufacturer that provides prescription-drug

benefits for approximately 100,000 employees and their dependents. In 2010, Caterpillar began

exercising full control over its formulary instead of deferring to the formulary recommendations

of its traditional PBM, and used that control to ensure that decisions about formulary inclusion and

placement were being made in the interests of its plan rather than its PBM. Since making these

changes, Caterpillar has saved millions of dollars per year on its prescription-drug costs, with far

lower per-patient and per-prescription costs. Bloomberg News reported on Caterpillar’s success

in exercising formulary control, reporting that “Caterpillar has saved tens of millions of dollars a

year” and quoting the company’s global benefits manager stating that Caterpillar’s “model is as

successful today as it’s ever been.”



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       209.   Wayne Farms is a poultry processor that provides prescription-drug benefits for

approximately 12,000 employees and their dependents. In August 2020, Wayne Farms carved out

specialty drugs from its traditional PBM contract and implemented a pass-through PBM model for

its specialty drugs through Archimedes, a pass-through PBM. This change resulted in substantial

savings for Wayne Farms: When comparing the first six months of the specialty carve-out program

to the same time period in the year prior, Wayne Farms’ expenditures on specialty drugs decreased

from $26.75 to $16.03 in per-member per-month costs (“PMPM,” a common cost metric for

prescription-drug plans), representing a 40% decrease in plan spend. Net of fees, Wayne Farms

experienced a 31% decrease in plan spend for the first six months compared to the same period

the prior year. This change in plans was implemented with negligible member disruption. Wayne

Farms’s Director of Compensation and Benefits stated: “Implementing this program was one of

the best decisions our team has made. The savings are exceeding projections and our members are

extremely happy.”

       210.   American Casino & Entertainment Properties LLC (“ACEP”) was a gaming

company (which has since been acquired by a larger gaming company) that provided prescription-

drug benefits for thousands of employees and their dependents. In 2012, ACEP dropped its

traditional PBM and switched to Navitus, a pass-through PBM. Its prescription-drug costs

decreased by 28 percent as a result of the switch. ACEP’s Corporate Vice President of Human

Resources stated that the company was able to “maintain excellent coverage while providing

substantial savings to our employees.”

       211.   Dean Foods was a food and beverage company (which has since been acquired by

another company) that provided prescription-drug benefits for approximately 15,000 employees

and their dependents. In 2019, Dean Foods carved out all specialty drugs from its traditional PBM



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contract, and Vivio, a pass-through PBM, began managing all specialty drug benefits under Dean

Foods’ prescription-drug plan. Prior to carving out specialty drugs, Dean Foods was projected to

spend approximately $8.798 million on specialty drugs in 2019. But after carving out specialty

drugs, Dean Foods spent only $5.569 million in specialty drugs in 2019, for a savings of $4.35

million in a single year.

       212.    Self-Insured Schools of California (SISC) is a public school Joint Powers Authority

that provides health care benefits to staff and their families at over 400 school districts in

California, covering approximately 330,000 total members.          In 2014, SISC engaged in a

comprehensive review of its prescription-drug benefit and concluded that it could save money by

no longer deferring to its traditional PBM’s formulary management decisions (which SISC

recognized were favoring more expensive drugs with large rebates over cheaper drugs without

rebates) and by identifying a PBM that was not focused on driving usage of its own mail-order

pharmacy. SISC conducted a prudent process, hired a non-conflicted consultant, and eventually

contracted a pass-through PBM. By working with its pass-through PBM to design a custom

formulary, and through the more favorable pricing model of pass-through PBMs, SISC achieved

substantial savings with minimal member disruption. SISC’s Deputy Executive Officer stated:

“We were very surprised with what we were uncovering and confident that we weren’t cutting into

effectiveness, just trimming waste. Clinical effectiveness and safety always came first.”

       213.    The University of Southern California (USC) is a private research university that

provides prescription-drug benefits for more than 20,000 employees and their dependents. By

refusing to accept the formularies offered by its PBM and designing its own higher-value

formulary, USC reduced its drug spend by 40 percent in one year.




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       214.    Golden Entertainment, Inc. is a gaming company that provides prescription-drug

benefits for more than 5,000 employees and their dependents. In or around 2019, Golden

Entertainment switched from a traditional PBM to a pass-through PBM. Just four months after

implementation of its new approach, Golden Entertainment achieved overall plan and member

savings of 33.5%, including a 24% decrease in member cost and a 29% decrease in PMPM costs.

       215.    The city of Kenosha, Wisconsin provides prescription-drug benefits for

approximately 2,400 employees and their dependents. In 2018, Kenosha replaced its traditional

PBM with a pass-through PBM. In its first three years with the pass-through PBM, Kenosha saved

$2.3 million in pharmacy costs, achieved a 38% decrease in net plan PMPM costs, and achieved a

318% increase in rebates received. Kenosha’s Director of Human Resources referred to the move

to a pass-through PBM as “a rousing success” with “complete transparency and significant cost

savings,” and reported that “the City’s pharmacy costs have dropped 38 percent, resulting in more

than $2.3 million in cumulative savings.“

       216.    The Montana Credit Union League (MCUL) Group Benefit Trust provides health

and life insurance benefits to nearly half of the 45 credit unions in the state of Montana. In 2021,

MCUL issued an RFP for a new pharmacy benefits manager and contracted with a pass-through

PBM. By making the change, MCUL achieved significant reductions in PMPM costs, from $143

in 2021 to $88 in 2022.

       217.    Foot Locker is a sportswear and footwear retailer that provides prescription-drug

benefits for approximately 8,500 employees and their dependents. In 2021, Foot Locker switched

from a traditional PBM to Navitus, a pass-through PBM. During the first year after the switch,

spending on drugs dropped 5%.




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       218.    Phifer Incorporated is a fabrics company that provides prescription-drug benefits

for approximately 1,000 employees and their dependents. At the end of 2022, Phifer dropped its

traditional PBM in favor of MedOne Pharmacy Benefit Solutions. According to Phifer’s vice

president of human resources, Phifer was able to hold its premiums for 2024 flat because of the

money it saved on drug spending.

       219.    The Teamsters Health and Welfare Trust Fund of Philadelphia and Vicinity, a union

fund that provides prescription-drug benefits for approximately 16,000 employees and their

dependents, replaced their traditional PBM with Capital Rx in 2019. The fund saved 17% on drug

spending in its first year away from its traditional PBM, and has saved more on drug spending

each year than it projected. The executive director of the fund referred to the fund’s decision to

move away from a traditional PBM as the “best decision ever.”

       220.    Texas Association of Counties is the representative for all Texas counties and

county officials. Brian Naiser, the Financial Manager Health & Benefits Services has stated: “Five

years ago, we left our previous PBM, one of the big three providers, and turned to Navitus to

provide the transparency, insights and flexibility we need to help deliver lower-cost, exceptional

service to our members… In the first year alone, we reduced pharmacy costs by 28% and continue

to outperform industry trends, to date saving more than $160 million with Navitus.”

V.     ADDITIONAL FACTS REGARDING NAMED PLAINTIFFS

       221.    Plaintiff Seth Stern is enrolled in the Plan and has been enrolled throughout the

Class Period. Stern has paid and will continue to pay premiums for his health insurance coverage,

part of which is for prescription-drug coverage. He also has paid and will pay co-pays and other

out-of-pocket amounts attributable to his use of prescription drugs. As set forth below, Stern has

paid and will continue to pay more in premiums and out-of-pocket costs than he would have paid

absent Defendants’ fiduciary breaches and prohibited transactions.
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       222.    Plaintiff Angela Bindner was enrolled in the Plan while she worked at JPMorgan.

While she was enrolled in the Plan, Bindner paid premiums for her health insurance coverage, part

of which was for prescription-drug coverage. She also paid co-pays and other out-of-pocket

amounts attributable to her use of prescription drugs. As set forth below, Bindner paid more in

premiums and out-of-pocket costs than she would have paid absent Defendants’ fiduciary breaches

and prohibited transactions.

       223.    Plaintiff Marianne Schmitt was enrolled in the Plan while she worked at JPMorgan.

While she was enrolled in the Plan, Schmitt paid premiums for her health insurance coverage, part

of which was for prescription-drug coverage. She also paid co-pays and other out-of-pocket

amounts attributable to her use of prescription drugs. As set forth below, Schmitt paid more in

premiums and out-of-pocket costs than she would have paid absent Defendants’ fiduciary breaches

and prohibited transactions.

       A.      Defendants’ Unlawful Conduct Caused Plaintiffs and Class Members To Pay
               More in Premiums.

       224.    The Medical Plan component of the Plan, specifically including the prescription

drug component, is “self-funded” or “self-insured.” Self-funded health plans like the JPMorgan

Plan cover 100% of the cost of their claims through premium contributions from

participants/beneficiaries and the sponsoring employer. Although a third-party insurer may

administer a self-funded plan, any such third-party administrator is not responsible for any of the

plan’s expenses or actuarial risks, which are borne exclusively by the participants/beneficiaries

and the sponsoring employer. In this way, a self-funded plan functions much like an individual

employee healthcare reimbursement account which is funded by employee salary deferrals and

any deposits the employer may make as part of its overall benefits package. Claims costs are paid




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directly   out   of   the   premium    contributions     deposited   into   the   trust   account   by

participants/beneficiaries and their employer, with no ability to shift costs to a third party.

       225.      Plaintiffs were enrolled in the Plan and paid premiums for their health insurance

coverage, part of which were for prescription drug coverage. As a result of Defendants’ fiduciary

breaches and other ERISA violations, Plaintiffs paid more in premiums than they would have paid

absent the fiduciary breaches and other ERISA violations described herein.

       226.      Enrollees in the Plan share in the cost of healthcare coverage with JPMorgan. In

particular, the Plan’s expenses are paid from the Trust, and the Trust is funded by a combination

of employer and employee contributions, along with investment income. Employee contributions

are generally made through payroll deductions.

       227.      Defendants set the amount of the required employer and participant contributions

each calendar year based on the Plan’s projected costs in that year. As the Plan’s most recent Form

5500 states, “Employer and Participant contributions for any self-insured plans are determined

based on the projected total annual Plan costs.” Accordingly, when the Plan’s healthcare expenses

(including for prescription drugs) increase in a given year, employees face higher premiums in

subsequent years. Consequently, the Plan’s overpayments for prescription drugs lead directly to

increases in premiums for the Plan’s participants.

       228.      In each year during the class period, Defendants intentionally set employee

contributions at amounts they projected would result in employees contributing premiums equal

to 30% of overall Plan healthcare costs, with JPMorgan contributing the remaining 70%.

Throughout this period, it was Defendants’ goal to maintain a consistent ratio of employer

contributions to employee contributions, and any minor variation was due to forecasting error. If




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the Plan’s costs were higher or lower in any given year, Defendants would have maintained the

same static split of employee and employer contributions.

       229.    The targeted 30/70 split is consistently reflected in the reported data for the past

nine years for which data is available (from 2015 to 2023). Specifically, Defendants set employee

contributions at amounts they projected would result in employees contributing premiums equal

to 30% of overall Plan healthcare costs, with JPMorgan contributing the remaining 70%. In 2015,

employees made 30.93% of overall contributions to the Trust; in 2016, employees made 31.18%

of overall contributions to the Trust; in 2017, employees made 32.26% of overall contributions to

the Trust; in 2018, employees made 30.56% of overall contributions to the Trust; in 2019,

employees made 30.95% of overall contributions to the Trust; in 2020, employees made 35.49%

of overall contributions to the Trust; in 2021, employees made 29.93% of overall contributions to

the Trust; in 2022, employees made 30.85% of overall contributions to the Trust; in 2023,

employees made 29.32% of overall contributions to the Trust.

       230.    The slightly higher percentage in 2020 was a result of the COVID-19 pandemic’s

unanticipated effects on healthcare spending rather than any intentional effort by Defendants to

change the 30/70 employee-employer split of contributions. As JPMorgan’s own analysis shows,

healthcare spending declined during the COVID-19 pandemic because, among other things,

“people avoided interacting with healthcare facilities for minor, lower-cost issues, such as routine

procedures or check-ups.” JPMorgan set 2020 employee contributions at the level they expected

would lead to a 30/70 split based on pre-pandemic data, but because 2020 overall spending was

lower than expected, the employee portion ended up being slightly higher than the anticipated

30%. See JPMorganChase Institute, Healthcare spending through the Pandemic, May 2022,




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https://www.jpmorganchase.com/institute/all-topics/financial-health-wealth-creation/spending-

during-the-pandemic.

       231.    As the above numbers show, the employee contribution percentage has remained

remarkably stable. This stability in employee contribution percentage is the result of Defendants’

intentional efforts to maintain a consistent ratio between employer and employee contributions.

Over the period described above (omitting the 2020 COVID year), the average employee

contribution has been 30.75%, with a standard deviation of just 0.87%.

       232.    This consistent employee contribution percentage reflects Defendants’ intentional

efforts to maintain a consistent ratio between employer and employee contributions. In light of

these efforts, any reduction in overall healthcare spending—e.g., if Defendants stopped causing

the Plan to overspend on prescription drugs by millions of dollars each year—would result in

proportionally lower employee contributions, in accordance with the established contribution ratio

that Defendants have steadfastly maintained. And similarly, because Defendants caused the Plan

to overspend on prescription drugs, overall healthcare spending increased, and employee

contributions in the form of premiums increased in tandem.

       233.    If Defendants had not committed the fiduciary breaches and engaged in the

prohibited transactions alleged here, the Plan’s annual spending would have been substantially

lower, which in turn would have reduced the amount of the required employee contributions each

year, including the contributions made by Plaintiffs. They paid more in premiums than they would

have paid absent Defendants’ fiduciary breaches.

       234.    The fact that employee contributions in the form of premiums will increase when

plans overspend on prescription drugs is also supported by numerous independent and/or

government studies.



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       235.    In 2024, the Federal Trade Commission (“FTC”) issued a report on PBMs. The

FTC’s Report found that, in addition to directly affecting patients’ out-of-pocket costs, “inflated

drug costs over time also result in higher premiums” for patients who utilize commercial health

insurance such as employer-provided insurance. FTC Report at 47.

       236.    A 2023 report by the Center for American Progress, an independent nonpartisan

policy institute, similarly found that inflated drug prices “ultimately raise[] costs for consumers

through higher cost sharing and premiums.” The Center for American Progress, Following the

Money:     Untangling       U.S.   Prescription        Drug   Financing     (Oct.    12,    2023),

https://www.americanprogress.org/article/following-the-money-untangling-u-s-prescription-

drug-financing/. The report found that “misaligned incentives throughout the drug pricing system

sustain high prices ultimately borne by patients. Patients absorb these high prices through cost

sharing or directly out of their pockets if they have not met their deductibles or are uninsured.

These unnecessary price increases also burden patients through higher health plan premiums.” Id.

       237.    According to a 2023 report by Families USA, a nonpartisan organization that

examines health care policy, “almost 20% of health insurance premiums are driven by the rising

cost of prescription drugs.” Families USA, Paying the Price: How Drug Manufacturers’ Greed

Is Making Health Care Less Affordable for All of Us 5 (November 14, 2023).

       238.    A 2023 article about PBMs also notes the connection between premiums and the

higher costs of drugs, explaining that when drug costs increase, premium costs increase as well,

because “[i]nsurance premiums and copayments are based on list prices.” Arthur Gale, If

Pharmacy Benefit Managers Raise Drug Prices, Then Why Are They Needed?, Mo. Med.,

July/August 2023, at 244.




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       239.    An article from Peterson Center on Healthcare and KFF’s Health System Tracker

states, “Prescription drugs are one of the leading contributors to health spending growth, and

insurers frequently cite these higher drug costs as a reason for raising premiums.” Gary Claxton

et al., Examining High Prescription Drug Spending for People with Employer Sponsored Health

Insurance     (Oct.     27,   2016),   https://www.healthsystemtracker.org/brief/examining-high-

prescription-drug-spending-for-people-with-employer-sponsored-health-insurance/. The article

further notes that retail prescription drug spending represents a larger share of total employer

insurance benefits than retail drugs represent as a share of total national health spending, and

therefore “growth in prescription drug spending may have a relatively large effect on employer-

sponsored health insurance premiums.” Id.

       240.    In a 2024 report commissioned by the Employee Benefits Security Administration,

RAND Corporation (a nonprofit, nonpartisan research organization) found that “drug spending is

conceptually related to premiums.” Andrew W. Mulcahy et al., Prescription Drug Prices, Rebates,

and         Insurance         Premiums        4,       RAND           (Dec.         5,        2024),

https://www.rand.org/pubs/research_reports/RRA1820-3.html. The RAND report observed “a

general trend of increasing health care and prescription drug costs to enrollees, including

premiums,” since 2014, id. at 30 (emphasis added), and stated that “[h]igher drug spending will,

holding all else constant, lead to higher premiums.” Id. at 52. The report further explain[ed] that

“[i]nsurers set health insurance premiums based on actuarial projections of spending in the year,”

and that “actuaries project aggregate drug spending forward to estimate next-year spending.” Id.

at 18, 54. RAND also found that, for employer-sponsored health insurance coverage, “[t]he

employer share of the premium remained steady at 82-83 percent per year across 2014-2023.” Id.

at 19. In other words, as drug costs rose between 2014 and 2023, they were borne by both plan



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participants and their employer proportionally relative to the percentage that each contributed to

the total insurance premium, which remained stable over time.

       241.    Had Defendants not committed the fiduciary breaches and caused the Plan to

engage in the prohibited transactions alleged here, the Plan’s annual spending would have been

substantially lower, which in turn would have reduced the required employee premium

contributions each year, including those made by Plaintiffs. They paid more in premiums than

they would have paid absent Defendants’ fiduciary breaches.

       242.    Plaintiffs, as employees of JPMorgan and participants in the Salaried Medical Plan,

were required to pay, and did pay, monthly healthcare premiums into the Trust. While they were

employed by JPMorgan, Plaintiffs paid the amount of employee contributions required by

Defendants each month, and were injured by increases in those premiums. Those premium

increases were attributable to rising Plan expenses, including expenses associated with excessive

prescription drug costs.

       243.    In 2015, the Plan’s participants made approximately $563 million in contributions

to the Trust. In 2016, the Plan’s participants made approximately $567 million in contributions to

the Trust. In 2017, the Plan’s participants made approximately $593 million in contributions to

the Trust. In 2018, the Plan’s participants made approximately $610 million in contributions to

the Trust. In 2019, the Plan’s participants made approximately $625 million in contributions to

the Trust. In 2020, the Plan’s participants made approximately $633 million in contributions to

the Trust. In 2021, the Plan’s participants made approximately $623 million in contributions to

the Trust. In 2022, the Plan’s participants made approximately $668 million in contributions to

the Trust. In 2023, the Plan’s participants made approximately $714 million in contributions to

the Trust.



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       244.    In addition, if Defendants had not agreed to terms that forced the Plan to overpay

for prescription drugs and related fees, the Plan would have used Plan assets to deliver additional

healthcare benefits to Plaintiffs and other participants/beneficiaries. In 2023, for example, the

Trust received $2,435,360,398 in additional plan assets, from a combination of employee

contributions, employer contributions, and investment income. Pursuant to ERISA, those assets

were required to be spent for the exclusive purpose of providing benefits to participants in the Plan

and their beneficiaries and defraying reasonable expenses of administering the plan. In the same

year, the Trust used $2,315,189,784 of plan assets on claims payments and plan expenses. A

significant portion of that among was spent on overpayments for prescription drugs and fees. If

Defendants had not forced the Plan to waste that money by paying excessive prices for prescription

drugs and related fees, the Plan would have been required by ERISA to use—and would have

used—that money to deliver additional benefits to participants/beneficiaries, including Plaintiffs.

The same is true of prior Plan years.

       B.      Defendants’ Conduct Caused Plaintiffs To Pay More in Out-Of-Pocket Costs.

       245.    Defendants’ unlawful conduct also caused Plaintiffs to pay more out-of-pocket for

prescription drugs than they otherwise would have paid.

       246.    The term “out-of-pocket” refers to payments other than monthly premiums that a

plan participant pays for medical services and prescription drugs—i.e., amounts that are not

covered by the health plan. For example, plan participants may be required to pay a $25 co-pay

for a doctor visit, with the health plan covering the rest of the cost. The $25 co-pay is an “out of

pocket” cost. Similarly, plan participants may be required to pay 20% co-insurance for a hospital

visit, meaning that the health plan pays 80% of the overall charge and the employee pays the other

20%. That 20% co-insurance payment is an “out of pocket” cost.



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       247.       While enrolled in the Plan, Plaintiff Seth Stern has obtained numerous prescriptions

for generic drugs for which Defendants agreed to unreasonable prices, including

(309.59% markup at time of prescriptions),                               (627.22%), and

(287.43%). For example, in October 2023, Stern filled a 60-unit prescription of                  . At the

time, the acquisition cost for that prescription was only $2.01. However, Defendants agreed to

terms with Caremark under which that prescription cost nearly four times as much, $8.25. Stern

was required to pay that full amount out-of-pocket, directly bearing the cost for the overcharge.

       248.       While enrolled in the Plan, Plaintiff Angela Bindner obtained numerous

prescriptions for generic drugs for which Defendants agreed to unreasonable prices, including

              (400% markup at time of prescriptions). For example, in March 2022, Bindner filled

a 90-unit prescription of                 . At the time, the acquisition cost for that prescription was

only $5.69. However, Defendants agreed to terms with Caremark under which that prescription

cost over eight times as much, $45.73. Bindner was required to pay $30 out-of-pocket for the

prescription, directly bearing most of the overcharge.

       249.       While enrolled in the Plan, Plaintiff Marianne Schmitt obtained numerous

prescriptions for generic drugs for which Defendants agreed to unreasonable prices, including

              (327% markup at time of prescriptions),                          (185.32%),

(284.49%), and                     (39.1%). For example, in October 2023, Schmitt filled a 90-unit

prescription of                 . At the time, the acquisition cost for that prescription was only $4.30.

However, Defendants agreed to terms with Caremark under which that prescription cost over four

times as much, $18.34. Schmitt was required to pay that full amount out-of-pocket, directly bearing

the cost for the overcharge. In December 2023, Schmitt filled a 30-unit prescription of                 .

At the time, the acquisition cost for that prescription was only $1.87. However, Defendants agreed



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to terms with Caremark under which that prescription cost almost four times as much, $7.19.

Schmitt was required to pay that full amount out-of-pocket, directly bearing the cost for the

overcharge.

       C.      Plaintiffs Did Not Reach Their Out-of-Pocket Maximums.

       250.    Under the Plan, Plaintiff Seth Stern has separate out-of-pocket maximums for

spending on medical services and spending on prescription drugs. He did not reach his out-of-

pocket maximum for prescription drug benefits in 2022, 2023, or 2024. In 2022, he paid a total of

$171.73 out-of-pocket for prescription drugs; in 2023, he paid $208.25 out-of-pocket for

prescription drugs; and in 2024, he paid $163.37 out-of-pocket for prescription drugs.

       251.    Under the Plan, Plaintiff Angela Bindner has separate out-of-pocket maximums for

spending on medical services and spending on prescription drugs. She did not reach either out-of-

pocket maximum in 2022. That year, she paid $295 out-of-pocket for medical services and $31.93

for prescription drugs.

       252.    Under the Plan, Plaintiff Marianne Schmitt has a combined out-of-pocket

maximum for medical services and prescription drugs. Schmitt did not reach her out-of-pocket

maximum for medical benefits and prescription drug benefits in 2022, 2023, or 2024. In 2022, she

incurred no out-of-pocket expenses for medical services and paid $35.78 out-of-pocket for

prescription drugs. In 2023, she incurred $878.71 in out-of-pocket expenses for medical services

and $240.60 in out-of-pocket expenses for prescription drugs. In 2024, she incurred $574.30 in

out-of-pocket expenses for medical services and $104.22 in out-of-pocket expenses for

prescription drugs.

                                    PLAN-WIDE RELIEF

       253.    29 U.S.C. § 1132(a)(2) authorizes any participant or beneficiary of an ERISA plan

to bring an action on behalf of such plan and to obtain the plan-wide remedies provided by 29

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U.S.C. § 1109(a). Plaintiffs seek relief on behalf of the Plan pursuant to this statutory provision

for purposes of their Causes of Action in Counts One, Three, and Four.

          254.   Plaintiffs seek recovery for injuries to the Plan sustained as a result of the breaches

of fiduciary duties referenced in Counts One and Three, and the prohibited transactions referenced

in Count Fourt, from the beginning of the statute of limitations period through judgment in this

matter.

          255.   Plaintiffs are adequate to bring this derivative action on behalf of the Plan, and their

interests are aligned with the Plan’s participants and beneficiaries. Plaintiffs do not have any

conflicts of interest with any participants or beneficiaries that would impair or impede their ability

to pursue this action. Plaintiffs have retained counsel experienced in ERISA litigation, and they

intend to pursue this action vigorously on behalf of the Plan.

                                CLASS ACTION ALLEGATIONS

          256.   Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

Procedure 23 on behalf of the following proposed class:2

                 All persons who were participants in or beneficiaries of the Plan
                 from the beginning of the statute of limitations period through
                 judgment in this matter (the “Class Period”).

          257.   The members of the putative class are so numerous that joinder of all potential class

members is impracticable. Plaintiffs do not know the exact size of the class but are informed and

believe that the proposed class includes tens of thousands of persons residing across the United

States.




          2
         Plaintiffs reserve the right to propose other or additional classes or subclasses in their
motion for class certification or subsequent pleadings in this action.
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       258.    Plaintiffs’ claims are typical of the claims of other members of the proposed class.

Like other class members, Plaintiffs participated in the Plan and suffered injuries as a result of

Defendants’ mismanagement of the Plan. Defendants treated Plaintiffs consistently with other

class members with respect to their prescription drug coverage, medical coverage, and payment

obligations. Plaintiffs’ claims and the claims of all class members arise out of the same conduct,

policies, and practices of Defendants as alleged herein, and all members of the class have been

similarly affected by Defendants’ wrongful conduct.

       259.    There are questions of law and fact common to the class that predominate over any

individual issues that might exist. Common questions include, but are not limited to, whether the

Defendants are fiduciaries of the Plan; whether Defendants breached their fiduciary duties by

engaging in the conduct described in this Complaint; whether Defendants engaged in prohibited

transactions; whether the fiduciary breaches and other alleged ERISA violations caused the Plan

to overpay for prescription drugs and class members to share in that financial burden; whether

JPMorgan profited from the breaches described herein; and whether the Plan and the class member

participants and beneficiaries are entitled to monetary, injunctive, and other equitable relief.

       260.    Plaintiffs will fairly and adequately protect the interests of the class members.

Plaintiffs have no interests antagonistic to those of other members of the class, and they are

committed to the vigorous prosecution of this action. In addition, Plaintiffs have retained counsel

competent and experienced in class-action litigation, including ERISA class actions.

       261.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy because numerous identical lawsuits alleging similar or identical

causes of action would not serve the interests of judicial economy and would create a risk of

inconsistent or varying adjudications with respect to individual potential class members that would



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establish incompatible standards of conduct. A class action would save time, effort, and expense

and assure uniformity of decision for persons similarly situated without sacrificing procedural

unfairness or any undesirable result.

          262.   Plaintiffs are unaware of any members of the proposed class who are interested in

presenting their claims in a separate action, nor would it be economically feasible for them to do

so.

          263.   This class action will not be difficult to manage due to the uniformity of claims

among the class members and the susceptibility of the claims to class litigation. The proposed

class has a high degree of cohesion.

                                        CAUSES OF ACTION

                                            COUNT ONE
                  Breach of Fiduciary Duties – 29 U.S.C. §§ 1104(a), 1132(a)(2)
             (on behalf of Plaintiffs, the Class, and the Plan against All Defendants)

          264.   Plaintiffs, on behalf of themselves and all others similarly situated, and on behalf

of the Plan, incorporate by reference all previous paragraphs of this Complaint as if fully re-written

herein.

          265.   Defendants were required to discharge their duties with respect to the Plan solely

in the interest of the Plan’s participants and beneficiaries, and for the exclusive purpose of

providing benefits to participants and beneficiaries and defraying reasonable expenses of

administering the Plan. In addition, Defendants were required to act with the care, skill, prudence,

and diligence required by ERISA.

          266.   These duties required Defendants to (among other things) prudently manage the

Plan’s prescription-drug benefit program, carefully monitor the Plan’s PBM and prescription drug

costs and fees to ensure that the Plan and its participants/beneficiaries paid only reasonable

amounts for each prescription drug, and independently assess the formulary placement of each
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drug and not simply follow the conflicted advice of an EBC or PBM. Defendants were required

to consider all relevant factors and options under the circumstances, including alternative

arrangements that were available to the Plan, PBM alternatives, the conflicts of interest of its

vendors, whether the prices of drugs under the Plan’s PBM contract were reasonable, and steps

taken by other companies that successfully lowered their prescription-drug costs. Defendants were

also required to act solely in the interests of the Plan and its participants/beneficiaries.

        267.    Instead of prudently and loyally managing the Plan and carefully monitoring the

Plan’s costs with an eye single to the Plan and its participants/beneficiaries, Defendants effectively

abdicated their fiduciary duties to a for-profit PBM, gave the PBM free rein without any

meaningful monitoring or review, allowed the Plan and its participants/beneficiaries to pay

unnecessarily high prices for prescription drugs and administrative fees, ceded control of the Plan’s

formulary to conflicted third parties, failed to ensure that decisions were made in the best interests

of the Plan and its participants/beneficiaries, failed to conduct adequate reviews of the Plan’s costs,

failed to steer participants/beneficiaries to lower-cost options, failed to engage in a prudent process

for monitoring the Plan’s formulary, and failed to take other available steps that would have saved

the Plan and its participants/beneficiaries millions of dollars. In the process, Defendants placed

JPMorgan’s own financial interests ahead of those of the Plan and its participants/beneficiaries.

        268.    In addition, each of the fiduciaries with responsibility for appointing other

fiduciaries, including JPMCo, JPMBank, and the Compensation Committee, breached their

fiduciary duties by failing to appropriately monitor their appointed fiduciaries, failing to ensure

that their performance was in compliance with ERISA’s fiduciary duties and other statutory

standards under ERISA, and failing to take prompt and effective remedial action to remedy the




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unlawful conduct outlined herein and prevent it from continuing. This was inconsistent with basic

fiduciary monitoring obligations under ERISA. See 29 C.F.R. 2509.75-8 at FR-17.

       269.    Defendants’ breaches of fiduciary duties needlessly increased the amounts that the

Plan paid for prescription drugs, and also increased the amounts that Plaintiffs and other members

of the class were required to pay in premiums and out-of-pocket costs, including deductibles, co-

pays, and co-insurance, and resulted in lower wages or limited wage growth.

       270.    Pursuant to 29 U.S.C. § 1132(a)(2), Plaintiffs are entitled to obtain relief under 29

U.S.C. § 1109(a) for Defendants’ fiduciary breaches, including: (i) recovery of losses to the Plan;

(ii) disgorgement of profits; and (iii) other equitable or remedial relief as the Court deems

appropriate, such as permanent injunctive relief, removal of the current fiduciaries, replacement

of the Plan’s PBM, appointment of an independent fiduciary, surcharge, restitution, and other

remedies.

                                         COUNT TWO
                Breach of Fiduciary Duties – 29 U.S.C. §§ 1104(a), 1132(a)(3)
                (on behalf of Plaintiffs and the Class against All Defendants)

       271.    Plaintiffs, on behalf of themselves and all others similarly situated, incorporate by

reference all previous paragraphs of this Complaint as if fully re-written herein.

       272.    Defendants were required to discharge their duties with respect to the Plan solely

in the interest of the Plan’s participants and beneficiaries, and for the exclusive purpose of

providing benefits to participants and beneficiaries and defraying reasonable expenses of

administering the Plan. In addition, Defendants were required to act with the care, skill, prudence,

and diligence required by ERISA.

       273.    These duties required Defendants to (among other things) prudently manage the

Plan’s prescription-drug benefit program, carefully monitor the Plan’s PBM and prescription drug



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costs and fees to ensure that the Plan and its participants/beneficiaries paid only reasonable

amounts for each prescription drug, and independently assess the formulary placement of each

drug and not simply follow the conflicted advice of an EBC or PBM. In making decisions about

the prescription-drug program, Defendants were required to consider all relevant factors and

options under the circumstances, including alternative arrangements that were available to the

Plan, alternative PBMs, the conflicts of interest of its vendors, whether the prices of drugs under

the Plan’s PBM contract were reasonable, and steps taken by other companies that successfully

lowered their prescription-drug costs. Defendants were also required to act solely in the interests

of the Plan and its participants/beneficiaries.

       274.    Instead of prudently and loyally managing the Plan and carefully monitoring the

Plan’s costs with an eye single to the Plan and its participants/beneficiaries, Defendants effectively

abdicated their fiduciary duties to a for-profit PBM, gave the PBM free rein without any

meaningful monitoring or review, allowed the Plan and its participants/beneficiaries to pay

unnecessarily high prices for prescription drugs and administrative fees, ceded control of the Plan’s

formulary to conflicted third parties, failed to ensure that decisions were made in the best interests

of the Plan and its participants/beneficiaries, failed to conduct adequate reviews of the Plan’s costs,

failed to steer participants/beneficiaries to lower-cost options, failed to engage in a prudent process

for monitoring the Plan’s formulary, and failed to take other available steps that would have saved

the Plan and its participants/beneficiaries millions of dollars.        In the process, Defendants

unlawfully placed JPMorgan’s own financial interests ahead of those of the Plan and its

participants/beneficiaries.

       275.    In addition, each of the fiduciaries with responsibility for appointing other

fiduciaries, including JPMCo, JPMBank, and the Compensation Committee, breached their



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fiduciary duties by failing to appropriately monitor their appointed fiduciaries, failing to ensure

that their performance was in compliance with ERISA’s fiduciary duties and other statutory

standards under ERISA, and failing to take prompt and effective remedial action to remedy the

unlawful conduct outlined herein and prevent it from continuing. This was inconsistent with basic

fiduciary monitoring obligations under ERISA. See 29 C.F.R. 2509.75-8 at FR-17.

          276.   Defendants’ breaches of fiduciary duties needlessly increased the amounts that the

Plan paid for prescription drugs, and also increased the amounts that Plaintiffs and other members

of the class were required to pay in premiums and out-of-pocket costs, including deductibles, co-

pays, and co-insurance, and resulted in lower wages or limited wage growth.

          277.   Pursuant to 29 U.S.C. § 1132(a)(3), Plaintiffs and members of the class are entitled

to injunctive relief and other equitable relief including, without limitation, the removal of the

current fiduciaries, replacement of the Plan’s PBM, appointment of an independent fiduciary,

surcharge, restitution, and other remedies.

                                           COUNT FOUR
                  Prohibited Transactions – 29 U.S.C. § 1106(a)(1), 1132(a)(2)
             (on behalf of Plaintiffs, the Class, and the Plan against all Defendants)

          278.   Plaintiffs, on behalf of themselves and all others similarly situated, and on behalf

of the Plan, incorporate by reference all previous paragraphs of this Complaint as if fully re-written

herein.

          279.   As a service provider to the Plan, Caremark is a party in interest. 29 U.S.C.

§ 1002(14)(B). Caremark is also vertically integrated with CVS, which is a JPMorgan banking

client.

          280.   By retaining and continuing to contract with Caremark and by causing the Plan to

repeatedly make excessive payments to Caremark throughout the Class Period, Defendants caused



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the Plan to engage in transactions that Defendants knew or should have known constituted an

exchange of property between the Plan and Caremark prohibited by 29 U.S.C. § 1106(a)(1)(A), a

furnishing of goods and services between the Plan and Caremark prohibited by 29 U.S.C. §

1106(a)(1)(C), and a transfer of the Plan’s assets to, or use by or for the benefit of, Caremark

prohibited by 29 U.S.C. § 1106(a)(1)(D).

       281.    Defendants retained Caremark (a traditional PBM) as their PBM and declined to

take appropriate measures to monitor Caremark or control costs in order to benefit Caremark, avoid

blowback from JPMorgan’s clients in the healthcare industry, and smooth the way for JPMorgan’s

banking business in the lucrative healthcare field.

       282.    The compensation that Defendants paid to Caremark was not reasonable.

       283.    These prohibited transactions are not subject to any exemption under ERISA or

applicable regulations.

       284.    Defendants’ prohibited transactions needlessly increased the amounts that the Plan

paid for prescription drugs, and as a result increased the amounts that Plaintiffs and members of

the class were required to pay in premiums and out-of-pocket costs.

       285.    Pursuant to 29 U.S.C. § 1132(a)(2), Plaintiffs are entitled to obtain relief under 29

U.S.C. § 1109(a) for Defendants’ prohibited transactions, including: (i) recovery of losses to the

Plan; (ii) disgorgement of profits; and (iii) other equitable or remedial relief as the Court deems

appropriate, such as permanent injunctive relief, removal of the current fiduciaries, replacement

of the Plan’s PBM, appointment of an independent fiduciary, surcharge, restitution, rescission, and

other remedies.




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                                           COUNT FIVE
                  Prohibited Transactions – 29 U.S.C. § 1106(a)(1), 1132(a)(3)
                  (on behalf of Plaintiffs and the Class against All Defendants)

          286.   Plaintiffs, on behalf of themselves and all others similarly situated, incorporate by

reference all previous paragraphs of this Complaint as if fully re-written herein.

          287.   As a service provider to the Plan, Caremark is a party in interest. 29 U.S.C.

§ 1002(14)(B). Caremark is also vertically integrated with CVS, which is a JPMorgan banking

client.

          288.   By causing the Plan to enter into contracts with Caremark throughout the Class

Period, Defendants caused the Plan to engage in transactions that Defendant knew or should have

known constituted an exchange of property between the Plan and Caremark prohibited by 29

U.S.C. § 1106(a)(1)(A), a furnishing of goods and services between the Plan and Caremark

prohibited by 29 U.S.C. § 1106(a)(1)(C), and a transfer of the Plan’s assets to, or use by or for the

benefit of Caremark prohibited by 29 U.S.C. § 1106(a)(1)(D).

          289.   Defendants retained Caremark (a traditional PBM) as their PBM and declined to

take appropriate measures to monitor Caremark or control costs in order to benefit Caremark, avoid

blowback from JPMorgan’s clients in the healthcare industry, and smooth the way for JPMorgan’s

banking business in the lucrative healthcare field.

          290.   The compensation that Defendants agreed to pay Caremark was not reasonable.

          291.   These prohibited transactions are not subject to any other exemption under ERISA

or applicable regulations.

          292.   Defendants’ prohibited transactions increased the amounts that Plaintiffs and

members of the class were required to pay in premiums, out-of-pocket costs, deductibles, co-pays,

and co-insurance.



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       293.     Pursuant to 29 U.S.C. § 1132(a)(3), Plaintiffs and members of the class are entitled

to injunctive relief and other equitable relief including, without limitation, the removal of the

current fiduciaries, replacement of the Plan’s PBM, appointment of an independent fiduciary,

surcharge, restitution, rescission, and other remedies.

                                  DEMAND FOR JUDGMENT

       WHEREFORE, Plaintiffs respectfully request that this Court enter judgment on their

behalf and that of the Plan and Proposed Class as follows:

       294.     Certifying and maintaining this action as a class action, with Plaintiffs designated

as class representatives and with their counsel appointed as class counsel;

       295.     Finding and declaring that Defendants have breached their fiduciary duties and

engaged in prohibited transactions as described above;

       296.     Enjoining Defendants from any further such violations of ERISA;

       297.     Ordering Defendants to make good to the Plan all losses to the Plan resulting from

each breach of fiduciary duty and prohibited transaction, and to otherwise restore the Plan to the

position it would have occupied but for the breaches of fiduciary duties and prohibited

transactions;

       298.     Awarding surcharge, restitution, rescission, or other make-whole equitable relief to

Plaintiffs and members of the class to remedy Defendants’ breaches of fiduciary duties and

prohibited transactions;

       299.     Removing the Plan’s fiduciary or fiduciaries and appointing an independent

fiduciary or fiduciaries to run the Plan;

       300.     Removing and replacing the Plan’s PBM and/or requiring a search for alternative

PBM candidates to replace the Plan’s PBM;



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